Case 3:04-cv-00251-HSO-ASH   Document 857-26    Filed 09/03/19       Page 1 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/1934,aigaikvf-Scl




                                                 JUN IA) 2019
                                                    T0? S LEEJUDGE
                                                U.S DISTRICT


                          Progress ofthe




                                                                                    JANUARY TO DECEMBER 2018
                                                                            LO

                                                                            CC
Mississippi Department of                                                  0
                                                                           a.
Child Protection Services
Monitoring Report for Olivia Y., et al. v. Bryant, et aL
     2ND MODIFIED MISSISSIPPI SETTLEMENT AGREEMENT
                                       A ND REFORM PLAN




                                     ISSUED JUNE 11, 2019




 PUBLIC
CATALYST
                                                                              EXHIBIT

                                                                               Zb
Case 3:04-cv-00251-HSO-ASH              Document 857-26        Filed 09/03/19   Page 2 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 2 of 81




                                                                                CONTENTS
 Introduction                                                                           3

   Summary of Progress and Challenges                                                   4

   2018 Summary of Commitments                                                          7
   Methodology                                                                          19

   Demographics                                                                         19

   Creation of the Mississippi Department of Child Protection Services                  22
   Operational Budget                                                                   23

 1. Systemic Infrastructure Standards                                                   23
   Department Leadership                                                                23
   Staff Qualifications and Training                                                    24

   Caseloads and Supervision                                                            27
   Continuous Quality Improvement                                                       29
   Management Information Systems & Data Reporting                                      30
   Performance Based Contracting                                                        35
   Foster Care Maintenance Payments                                                     36
 2. Child Safety and Maltreatment in Care                                               37
   Screening Reports of Abuse and Neglect                                               38
   Investigating Maltreatment in Care                                                  40
 3. Family-Based Placements                                                             48
 4. Placement Standards                                                                 54
 5. Visitation                                                                          60
   Worker Contact and Monitoring                                                       60
   Developing and Maintaining Connections                                              64
 6. Child and Youth Permanency                                                         64
   Comprehensive Family Service Plans                                                  64
   Concurrent Permanency Planning                                                      66
   Permanency Case Goals                                                               67
   Permanency Reviews                                                                   71
Case 3:04-cv-00251-HSO-ASH               Document 857-26          Filed 09/03/19        Page 3 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 3 of 81




     Permanency Performance Indicators                                                           73
   7. Transition to Independent Living                                                           74
   8. Child Well-Being                                                                           78.
     P hysical and Mental Health Care                                                            78
     Educational Services                                                                        80




                                                                                            FIGURES
  Figure 1. Age of Children in Custody on December 31,2018                                       20
  Figure 2. Placement Types of Children in Custody on December 31,2018                           21
  Figure 3. Length of Stay in Care of Children in Custody on December 31,2018                    21
  Figure 4. Percent of Workers Meeting the Caseload Standard, 2018                               28
  Figure 5. Percent of Caseworker Supervisors Meeting the Supervision Ratio Standard,2018        28
  Figure 6. Worker-Child Visitation, 2018                                                        61
  Figure 7. Worker-Foster Parent Visitation, 2018                                                63


                                                                                             TABLES
  Table 1. Race of Children in Custody on December 31,2018                                      20
  Table 2. Exits from Care by Exit Type,January 1, 2018 to December 31,2018                     22
  Table 3. Federal Goals for Children in Custody as of December 31,2018                         22
  Table 4. 2nd MSA Caseload Standards by Case Type                                              27
  Table 5. Current Resource Board Payment Schedule                                              37
  Table 6. ANE Reports by Intake Action, 2018                                                   38
  Table 7. Licensure Status of Homes,2018                                                       50
  Table 8. Non-relative Foster Homes Licensed,2018                                              53
  Table 9. Special Needs Board Rates                                                            55
  Table 10. Successive Emergency Shelter Placements, 2018                                       60
  Table 11. Worker-Child Visitation Narrative Review, 2018                                      61
  Table 12. Worker-Parent Visitation Narrative Review, 2018                                     63
  Table 13. Permanency Outcome Performance Standards                                            73
  Table 14. Youth Receiving Independent Living Skills, 2018                                     76




                                                   ii
Case 3:04-cv-00251-HSO-ASH             Document 857-26           Filed 09/03/19       Page 4 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 4 of 81




  Introduction
 This document serves as the sixth report to the Honorable Tom S. Lee of the United States District
 Court for the Southern District of Mississippi, Northern Division in the matter of Olivia Y. v.
 Bryant. On December 19, 2016, the State of Mississippi, the Mississippi Department of Child
 Protection Services(MDCPS)and A Better Childhood, counsel for the plaintiffs, jointly submitted
 to the court a 2"d Modified Mississippi Settlement Agreement and Reform Plan (the "2"d MSA")
 that provides a path for improvement of Mississippi's child welfare system. Judge Lee had
 previously entered as orders of the court the Mississippi Settlement Agreement and Reform Plan
 on January 4,2008(the "Initial Settlement Agreement")and the Modified Mississippi Settlement
 Agreement and Reform Plan on July 6, 2012. MDCPS is the statewide child welfare agency that
 provides child protection, abuse prevention and placement services on behalf of the State of
 Mississippi. A Better Childhood is a national advocacy organization with experience in class action
 litigation on behalf of children in child welfare systems. Judge Lee entered an order directing
 implementation of the 2nd MSA following its submission by the parties.

  In sum, the rd MSA, which became effective on January 1, 2018, sets forth the child welfare
  infrastructure, standards and outcomes that Mississippi must meet within specific timeframes
  statewide. Specifically, the 2nd MSA:

     • Provides the plaintiff class relief by committing MDCPS to specific improvements in the
       state's care for vulnerable children, with respect to their safety, permanency, and well-
       being;

     • Requires the implementation of a comprehensive child welfare data and tracking system,
       with the goal of improving MDCPS' ability to account for and manage its work with
       vulnerable children;
     • Establishes benchmarks and performance standards in order to prevent harm to children
       in the class; and
     • Provides a clear path for MDCPS to exit court supervision after the successful
       achievement and maintenance of performance standards.

  Pursuant to the 2"d MSA, the Court appointed Public Catalyst as the monitor, charged with
  reporting on MDCPS' progress implementing its commitments. The monitor is responsible for
  assessing the state's performance under the 2"d MSA.The parties agreed the monitor shall take
  into account timeliness, appropriateness and quality in reporting on MDCPS' performance. The
  monitor is required to verify data reports and statistics provided by MDCPS and shall periodically
  conduct case record and qualitative reviews to monitor, evaluate and validate the state's

                                                  3
Case 3:04-cv-00251-HSO-ASH              Document 857-26            Filed 09/03/19       Page 5 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 5 of 81




  performance with respect to the commitments in the 2nd MSA. In evaluating MDCPS'
  performance, the monitor is not required to draw a conclusion as to whether the Department
  has achieved or maintained substantial compliance in accordance with Sections 11.2 and 11.3 of
  the 2" MSA and has not done so.

  The monitor is required to provide a written report to the Court and the parties no less frequently
  than annually. This is the monitor's first report to the Court under the 2nd MSA and reflects the
  status of Mississippi's performance as of December 31, 2018. This report includes' MDCPS'
  progress for the entirety of calendar year 2018.

  Summary of Progress and Challenges
  Of 113 commitments due in 2018 in the 2nd MSA, the monitor confirmed that MDCPS met
  required performance standards 37 times and did not do so in at least 35 other areas. The
  Department did not provide data for an additional 18 commitments, and the monitoring team
  could not validate quantitative data submitted by MDCPS for another 23 commitments. The 41
  commitments for which MDCPS either did not provide data or provided inaccurate data that
  cannot be validated are listed in the Summary of Commitments and the relevant sections of this
  report. MDCPS' substantial and ongoing data problems include the manner in which the
  Department documents and identifies certain data fields, coding errors and performance
  calculations that are inconsistent with the established rules. These deficits create blind spots that
  impair MDCPS management's ability to lead the Department and ensure the safety, well-being
  and permanency of children consistent with the 2nd MSA.

  Among the areas where MDCPS showed progress in 2018 are:

     • Staff Qualifications: MDCPS reported that caseworkers hired in 2018 possessed
                                                                                      an
       approved degree. MDCPS also reported caseworker supervisors appointed during 2018
       possessed an approved degree and the requisite years of experience.

    • Training: During 2018,the MDCPS Office of Professional Development administered staff
      training and professional development to the workforce. MDCPS reported that the newly
       hired workers requiring training completed pre-service training during the period and
      workers hired into their positions late in the period were enrolled in training that ended in
      the first quarter of 2019. Additionally, all caseworkers and investigators received the
      required 20 or more in-service training hours and all supervisors received the required 12
      or more in-service training hours during 2018. Finally, MDCPS provided information
      indicating that caseworker supervisors appointed in 2018 met the 90-day requirement for
      training completion.




                                                  4
Case 3:04-cv-00251-HSO-ASH             Document 857-26           Filed 09/03/19       Page 6 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 6 of 81




   • New Non-relative Homes: MDCPS licensed 431 new non-relative foster homes in 2018,
     exceeding the annual target of 400 homes established by the monitor after consultation
     with the Department.

   • Post-Adoption Services: MDCPS established a system of statewide post-adoptive services
     to stabilize and maintain adoptive placements. Adoptive families eligible for adoption
     subsidies have access to these services which include counseling, crisis intervention,family
        preservation and stabilization services and peer support.
  Among the areas where MDCPS did not meet the identified performance standard are several
  critical to child safety, including:

    • Caseloads:The parties agreed MDCPS would build capacity in 2017 to achieve reasonable
      workload standards by the start of 2018 for at least 90 percent of its caseworkers. The
      parties negotiated and agreed upon the standards for caseworkers in 2016, but MDCPS
      did not meet the standard for its staff at any time in 2018. Performance varied between
      a high of 60 percent in the first quarter of 2018 to a low of 47 percent in the third quarter.

     • Screening Child Maltreatment in Care(MIC): MDCPS agreed to ensure that it maintains a
       statewide system to appropriately receive, screen and investigate reports of child
       maltreatment, but many features of the system lack adequate quality controls. For
       example, MDCPS screened out 656 maltreatment reports involving children in custody
       during 2018. MDCPS reported that the Department's Safety Review Unit(SRU)conducted
       reviews of 409 of the 656 screened-out MIC reports(62.3 percent) in 2018, although it is
       required to review them all. SRU determined only one report was inappropriately
       screened-out and returned it for investigation, but the referral was not subsequently
         investigated.

     • Investigating Maltreatment in Care: The monitoring team conducted a qualitative review
       of all MIC investigations completed by the Special Investigations Unit(SIU) during the first
       quarter of 2018 where the alleged perpetrator was a non-relative foster parent, relative
       foster parent,or residential facility staff member.This included 82 investigations involving
       153 children. The monitoring team concluded the evidence supported MDCPS'findings in
       58 of 82 investigations (70.7 percent). The monitoring team concluded in 14
       investigations (17.1 percent) more information was needed in order to draw a proper
       conclusion.There were ten investigations(12.2 percent) where some or all the allegations
       were found to be unsubstantiated by MDCPS, but the monitoring team concluded that
       information presented during the course of the investigation was sufficient to
         substantiate.




                                                  5
Case 3:04-cv-00251-HSO-ASH            Document 857-26         Filed 09/03/19      Page 7 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 7 of 81




     • Reviewing Maltreatment In Care Investigations: Within 30 calendar days of the
       completion of any investigation of maltreatment of a child in custody, SRU must review
       the maltreatment investigation to identify any case practice deficiencies in the
       investigation and any remedial actions necessary to ensure the safety of the child who is
       the subject of the investigation, as well as any other children in the home or placement.
       The monitoring team determined that SRU conducted reviews of only 325(65.9 percent)
       of 493 investigations in 2018. The monitoring team reviewed SRU reports for 82 MIC
       investigations from the first quarter of 2018 and observed that SRU noted case practice
       deficiencies in 14 of the SRU reports. Specific remedial actions and timeframes to address
       these deficiencies were not identified in the SRU reports.

    • Maltreatment in Care: Data provided by MDCPS and verified by the monitori
                                                                                       ng team
      indicate that 95 children in MDCPS' custody were victims of abuse or neglect by
                                                                                           their
      caregivers,a rate of child maltreatment that is more than three times the standard agreed
      upon in the 2nd MSA. MDCPS should have protected at least 68 more children from abuse
      or neglect in their placements in 2018 in order to meet the agreed upon safety standard
                                                                                               .




                                              6
 Case 3:04-cv-00251-HSO-ASH                   Document 857-26            Filed 09/03/19       Page 8 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 8 of 81




    2018 Summary of Commitments
Section        Commitment                                                                     Achieved     Report
                                                                                                            Page
STRO 2.a     Complete the creation and implementation of a fully functional child               Yes          22
             welfare agency, MDCPS, which is independent of, although housed within,
             the Mississippi Department of Human Services(MDHS), not later than July
             1, 2018.
"MSA
2            Defendants shall request state funds and any federal/special fund                  Yes         23
Introduction authorization sufficient to effect the provisions and outcome measures set
             forth in the 2"d MSA.
                                     SYSTEMIC INFRASTRUCTURE STANDARDS
             MDCPS shall maintain a Commissioner of Child Protection Services having             Yes        23
             responsibility for the oversight and management of the MDCPS.
1.1.a        MDCPS shall hire caseworkers who have, at minimum, a bachelor's degree              Yes        24
             in social work or a related human services degree. The monitor shall
             review and determine which degrees qualify as related human services
             degrees.
1.1.b        MDCPS shall hire or promote to the position of caseworker supervisor                Yes         24
             only persons who have a master's degree in social work or a related
             human services degree and two years of experience working with children
             and families, preferably in foster care; or a bachelor's degree in social
             work or a related human services degree with three years of experience
             working with children and families, preferably in foster care.
1.2.a         M DCPS shall maintain a Training Unit headed by a qualified director of            Yes         25
             training (see 2" MSA for full requirements of the Training Unit).
1.2.b         MDCPS caseworkers shall receive a minimum of 270 hours of pre-service              Yes         25
             training, which includes instructional training and supervised field training,
             and may include E-Learning. Any E-Learning training is subject to the
             approval of the monitor (see 2nd MSA for more info).
1.2.c         M DCPS caseworker trainees, as part of pre-service training, may be                Not         26
             assigned specific tasks or activities in connection with a case that is the      Applicable
              primary responsibility of an experienced caseworker and may, under
              appropriate supervision, be assigned responsibility for a "training
             caseload" with progressively responsible caseload assignment.
1.2.d         M DCPS caseworkers shall receive a minimum of 20 hours of in-service               Yes         26
              training, and all supervisors shall receive a minimum of 12 hours of in-
             service training.
 1.2.e        M DCPS caseworker supervisors, within 90 days of hire or promotion, shall          Yes         26
              receive a minimum of 40 hours of training, directed specifically at the
              supervision of child welfare caseworkers.
 1.3.a       90% of MDCPS caseworkers will have caseloads which do not exceed the                            27
              caseload standards set forth in the 2"d MSA (pg. 3-4). Individual MDCPS
              caseworkers with generic caseloads shall not carry a mixed caseload that
              exceeds 100% capacity as calculated by weights per case type set forth in
              the 2"d MSA (pg. 3-4).



                                                         7
 Case 3:04-cv-00251-HSO-ASH                 Document 857-26             Filed 09/03/19        Page 9 of 81
         Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 9 of 81




 Section      Commitment                                                                          Achieved   Report
                                                                                                              Page
 1.3.b         85% of MDCPS supervisors shall be responsible for no more than five                     No      28
                caseworkers.                                                                  .
 1.4.a          By December 15t of each year, MDCPS shall develop an annual Continuous                 Yes    29
               Quality Improvement Plan, which shall be subject to the approval of the
                monitor after consultation with the parties.
 1.5.a          MDCPS shall maintain comprehensive information systems that permit:                    No     30
              (1)timely access by authorized MDCPS staff to information, including                •
               current and historical case documents, to support child safety and
               continuity of care across placement settings and services;(2) capturing,
               tracking, and reporting of applicable financial information, quantitative 2"
               MSA compliance, longitudinal performance, and child welfare
               information, including federally required elements; and (3) prompts for
               workers and supervisors regarding required actions in a child's case and
               whether they have taken place.
1.6.a          MDCPS shall provide to all county agency staff with child welfare                      Yes     33
               responsibilities access to computer services, word processing, and
               electronic mail and access to the current management information
              systems and access to CCWIS, once implemented.
1.6.b          Data related to compliance with the 2nd MSA's Foster Care Service                   • Yes      33
              Standards will be collected, analyzed and made available, at least
              quarterly, to MDCPS regional and county staff.
1.6.c          MDCPS county staff shall have access to an electronic statewide database               Yes     34
              of available placement resources.
1.7.a         Defendants shall establish, maintain and assess the effectiveness of a                  Yes    35
              performance-based contracting system to evaluate annually contract
             agency compliance with the terms of the 2" MSA. Defendants shall take
              all reasonable steps to ensure contract agency remediation of any
              identified deficiencies within three months.
1.7.b        Prior to MDCPS contracting for case management services for children in             Not         35
             custody, MDCPS shall submit for review and approval to the monitor a             Applicable
             detailed plan to ensure accountability and provide supervision and
             oversight of such agencies.
1.8.a        Defendants shall ensure that all licensed foster families (regardless of                 Yes    36
             whether they are supervised directly by MDCPS or by private providers,
             and whether they are kinship or unrelated foster families) receive at least
             the minimum reimbursement rate fora given level of service as
             established pursuant to the 2" MSA.
1.8.b        Defendants shall pay to all licensed foster families at least the basic                  Yes    36
             monthly foster care maintenance payments. Every two years thereafter,
             Defendants shall provide increases in the foster care maintenance
             payments, based upon the previous year's rate of inflation.




                                                      8
Case 3:04-cv-00251-HSO-ASH                   Document 857-26             Filed 09/03/19         Page 10 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 10 of 81




Section        Commitment                                                                       Achieved      Report
                                                                                                               Page
1.8.c          Defendants shall deliver to the monitor a written report regarding the              Yes          36
               adequacy of a proposed schedule of foster care maintenance payments
               made to foster care providers serving children and the actual cost in the
               state of Mississippi to provide such care (see 2"d MSA for specific report
               requirements). Following review of the Defendants' report, the monitor
               shall establish the rates that Defendants shall then implement.
                                           FOSTER CARE SERVICE STANDARDS
2.1            MDCPS shall ensure that it maintains a statewide system to appropriately                       38,44
               receive, screen and investigate reports of child maltreatment (see 2"d MSA
               for system requirements). Any extensions of the timeframes set forth in
               M DCPS policy for the completion of investigations are subject to the
               review and approval of the monitor.
2.2             MDCPS shall continue to maintain a special investigations unit whose               Yes          40
                responsibility is to investigate reports of maltreatment of children in
               custody.
2.2            The initiation of a special investigation shall not extend beyond 24 hours.         No           40
                                                                                               (97.3%, very
                                                                                                  close)
2.3            MDCPS will develop and implement policies and procedures, subject to                 No          39
               the review and approval of the monitor, for the Agency to review all
               maltreatment in care reports that were screened-out and assess the
               a ppropriateness within 24 hours of all screen-out determinations. If the
               decision to screen-out the report is determined to be inappropriate,
               M DCPS shall ensure the report is referred for investigation immediately.
2.4            U pon receipt of a substantiated report of child maltreatment in a contract          No          43
               agency group home or emergency shelter, MDCPS shall, within 30
               calendar days, initiate a licensure investigation, that is in addition to and
               independent of the child protection investigation (see 2nd MSA for
               investigation requirements).
2.5            U pon receipt of a report of child maltreatment in a private child placing                       43
               agency foster home, MDCPS staff will notify the child placing agency, who
               shall, within 30 calendar days, initiate a licensure investigation that is in
               addition to and independent of, any child protection investigation (see 2nd
                MSA for investigation requirements).
2.6            All allegations of maltreatment of a child in custody shall be investigated                      40
                by a worker who has received training on intake and investigations
                processes, policies, and investigation techniques and has no ongoing
               connection to the foster care case.
2.7             Within 30 days of the completion of any investigation of maltreatment of                        43
                a child in custody, as required in Section 2.1, MDCPS shall review the
                maltreatment investigation (see 2" MSA for review requirements).
2.8             M DCPS shall assure that standardized decision-making criteria are used                         39
               for prioritizing, screening, and assessing all reports of maltreatment of
                children in MDCPS custody.



                                                         9
Case 3:04-cv-00251-HSO-ASH                 Document 857-26              Filed 09/03/19          Page 11 of 81
        Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 11 of 81




Section       Commitment                                                                         Achieved    Report
                                                                                                              Page
2.8.a.1        By July 1, 2018, at least 90% of maltreatment-in-care investigations will be          Yes       40
               initiated and completed within 30 days.
2.8.b         Any foster child who remains in the same out-of-home placement                         No         42
              following an investigation into a report that he or she was maltreated in
              that placement shall be visited in the placement by an MDCPS caseworker
              according to the following schedule: 1) Once per week for the first month
              and twice per month for three months if the investigation is found to be           •
              substantiated; or 2)Twice per month in accordance with MDCPS policy if
              the investigation is found to be unsubstantiated.
2.8.c         When a maltreatment investigation involves a foster or adoptive home,             MDCPS did     41
              M DCPS shall file a copy of the approved final investigative report, and any      not report
              recommendations and/or corrective actions MDCPS has deemed
              necessary, in the case record of the foster child, in the file of the foster or
              adoptive parents with a copy of the letter of notification to the foster or
              adoptive parents, and with the Bureau Director for Licensure. MDCPS shall
              also provide those records to the Youth Court Judge with jurisdiction over
              the child and, upon request, to the monitor.
2.8.d         When a maltreatment investigation involves an agency group home,                  MDCPS did     41
              emergency shelter, private child placing agency foster home, or other             not report
              facility licensed by MDCPS, a copy of the final investigative report shall be
              filed in the child's case record, with the Director of Congregate Care
              Licensure, and sent to the licensed provider facility. MDCPS shall provide
              the report to the Youth Court Judge with jurisdiction over the child and,
              u pon request, to the monitor.
2.9           The rate of child abuse and neglect among children in foster care shall not            No       47
              exceed 0.33% per year effective for the period beginning 1/1/18 (see 2nd
              MSA for full definition of this metric).
3.1           All foster homes and facilities with children placed who are in the custody        Cannot       48
              of MDCPS shall be timely licensed.                                                 validate
3.1           All foster homes and facilities with children placed who are in the custody          Yes        48
             of MDCPS shall be subject to the licensure process approved by Public
             Catalyst on December 31, 2016.
3.2.a         No child shall remain in a foster home or facility determined to be unable             No       51
             to meet MDCPS licensing standards, absent an order by a state court with
             jurisdiction over child custody directing the placement of the child into a
             specific unlicensed placement.
3.2.b        Safety Issues: If it is determined that an unlicensed foster home or facility       Cannot       51
             is unable to meet MDCPS licensing standards due to a safety issue,                  validate
             Defendants shall take all reasonable efforts to immediately ensure the
             child's safety and to remove the child, including, if required by the court,
             seeking an emergency court order. If the child is not in imminent danger,
             M DCPS shall implement a safety plan and within five calendar days, either
             cure the licensing deficiency if feasible, or move the child to a licensed
             foster home or facility, or to an appropriate expedited relative placement,
             one time only.
                                                                                                                     --

                                                        10
Case 3:04-cv-00251-HSO-ASH                   Document 857-26             Filed 09/03/19       Page 12 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 12 of 81




Section       Commitment                                                                      Achieved     Report
                                                                                                            Page
3.2.c          Non-safety Issues: If MDCPS determines an unlicensed foster home to be         Cannot         51
               unable to meet MDCPS licensing standards due to a non-safety issue,            validate
               Defendants shall, within 30 calendar days of that determination, either
               cure the licensing deficiency if feasible, or move the child to a licensed
               foster home or facility, or to an appropriate expedited relative placement,
               one time only.
3.3.a          M DCPS, in conjunction with the monitor, shall establish annual statewide         Yes        53
               and county performance requirements and time periods for new foster
               home licensure. The monitor will report to the parties MDCPS progress on
               achieving the performance requirements. The Defendants shall meet the
                performance requirements, including time periods.
3.3.b           M DCPS shall begin to implement the annual plan to recruit and retain            No         53
               additional licensed foster home placements and shall maintain the
               additional number of total placements, as necessary during the
               a pplicability of the 2"d MSA.
4.1/ 4.13.a     By July 1, 2018,70% of foster homes shall provide care for no more than          Yes         54
               five children (including foster, biological, and adoptive children) at any
               given time (see 2"d MSA for allowable exceptions).
4.2/ 4.14.a     By July 1, 2018,60% of children with special needs shall be matched with      M DCPS did     54
                placement resources that meet their therapeutic and medical needs.            not report
4.3/ 4.15       At least 95% of children in MDCPS custody shall be placed in the least           Yes         55
                restrictive setting that meets their individual needs as determined by a
                review of all intake, screening, assessment and prior placement
                information regarding the child available at the time of placement.
4.4/ 4.18      90% of children who enter MDCPS custody shall be placed within his/her            Yes         56
                own county or within 50 miles of the home from which he/she was
                removed unless the child entered custody in Regions II-East, II-West, or V-
                West or one of the exceptions provided in this 2"d MSA is documented as
                a pplying.
4.5             Each child who enters placement from Regions II-East, II-West, and V-            Yes         56
                West shall be placed within his/her own county or within 75 miles of the
                home from which he/she was removed (see 2nd MSA for list of approved
                exceptions). This provision shall be evaluated by the monitor in December
                2018 to determine whether the 75-mile exception is still necessary.
4.6/ 4.16.a     By July 1, 2018,60% of siblings entering MDCPS custody at or near the          Cannot        57
                same time shall be placed together (see 2'MSA for allowable                    validate
                exceptions). If a sibling group is separated at initial placement, the
                caseworker shall make immediate efforts to locate or recruit a foster
                family in whose home the siblings can be reunited. These efforts will be
                documented and maintained in the case file.
4.7/ 4.17.a     By July 1, 2018,60% of children in MDCPS custody with a documented            M DCPS did     57
                indication that they were subject to a potential or actual placement          not report
                disruption shall have documented in the child's case record the
                reasonable steps taken to address placement stability consistent with 2nd
                 MSA requirements.


                                                        11
Case 3:04-cv-00251-HSO-ASH                   Document 857-26             Filed 09/03/19         Page 13 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 13 of 81




 Section       Commitment                                                                           Achieved   Report
                                                                                                                Page
 4.8            No child shall remain overnight in an MDCPS office or other nonresidential            Yes        58
                facility that provides intake functions.                                        -
 4.9            No child under 10 years of age shall be placed in a congregate care setting            No       58
               (including group homes and shelters) unless: a)The child has exceptional
                needs that cannot be met in a licensed foster home; or b) In order to keep
                a sibling group together for a temporary period, not to exceed 15 days
                and the RD has granted documented approval for the congregate care
                placement; or c) To enable a mother and baby to be placed together and
                there is not an available foster home for both of them.
4.10/ 4.12      By July 1, 2018, 70% of children will remain in his/her existing placement             No       59
                and not be moved to another placement unless MDCPS specifically
                documents in the child's case record justifications for that move and the
                move is approved by a MDCPS supervisor.
4.11            No child shall be placed in more than one emergency or temporary facility              No       59
                within one episode of foster care, unless an immediate placement move is
                necessary to protect the safety of the child or of others with documented
                approval from the RD.
5.1.a.1         By July 1, 2018, at least 75% of foster children shall have an MDCPS                  No        60
               caseworker meet with the child at least two times per month (see 2'd MSA
               requirements for visits).
5.1.a.1        By July 1, 2018, at least 75% of foster children shall have at least one visit       Cannot      60
               per month by the caseworker, which takes place in the child's placement.             validate
5.1.b.1        By July 1, 2018, at least 75% of foster children receiving a 90-day trial            Cannot      62
               home visit period shall have an MDCPS caseworker meet with the child in              validate
               the home at least two times per month.
5.1.c.1        By July 1, 2018,for a least 75% offoster children with a goal of                     Cannot      62
               reunification, MDCPS shall meet with the child's parents at least monthly            validate
               unless the child's parent(s) reside out-of-state or are incarcerated.
5.1.d.1        By July 1, 2018 at least 75% of foster parents with at least one foster child          No       63
               in the home shall have MDCPS visit the home monthly.
5.2.a          MDCPS shall arrange contact for the child with his/her parents and with                No       64
               any siblings not in the same placement within 72 hours of foster care
               placement unless there are documented reasons why contact should not
               occur. If a visit cannot be arranged within 72 hours, a telephone call to
               parents, siblings, or extended family members shall be provided to the
              child.
5.2.c          MDCPS and its contracting agencies shall implement a policy that                       Yes      64
              prohibits cancellation of visits as a form of discipline against children.
6.1.a.1       By July 1, 2018 at least 75% of Family Service Plans shall be submitted by              No       64
              the caseworker consistent with 2'd MSA requirements, within 30 calendar
              days of a child's entry into custody. The supervisor shall review the Plan
              for approval within 15 calendar days. The Family Service Plan shall be
              considered complete upon documented supervisory review and approval.




                                                        12
Case 3:04-cv-00251-HSO-ASH                   Document 857-26             Filed 09/03/19        Page 14 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 14 of 81




Section        Commitment                                                                       Achieved      Report
                                                                                                               Page
6.1.b          In instances in which it is impossible to meet with one or both parents, the        Yes          65
               service planning process will proceed, notwithstanding the parent's
               absence.
6.1.c.1        By July 1, 2018, in at least 75% of placement cases in which the                M DCPS did      65
               whereabouts of one or both parents is unknown, MDCPS shall, within 30           not report
               days, institute a diligent search for the parent(s), which shall be
               documented in the child's case record.
6.1.d.1        By July 1, 2018,for at least 75% of foster children who enter custody,                          65
               permanency plans shall be submitted within 30 calendar days of the
               child's entry into custody by the caseworker consistent with 2"d MSA
               requirements. The supervisor shall review the plan for approval within 15
               calendar days. The permanency plan shall be considered complete upon
               documented supervisory review and approval.
6.2.a.1        At least 95% of children in custody with the goal of reunification shall have       No          66
               case record documentation reflecting active concurrent permanency
               planning consistent with 2nd MSA requirements.
6.3.a.1.a      By July 1, 2018, at least 75% of foster children with a permanency goal of          No          67
               reunification shall have service plans for their parents that identify those
               services MDCPS deems necessary to address the behaviors or conditions
               resulting in the child's placement in foster care and case record
               documentation that MDCPS made those identified services available
               directly or through referral.
6.3.a.2        For a child with a permanency goal of reunification, the child's MDCPS            Cannot        67
               caseworker shall meet with the child's parent(s) with whom the child is to        validate
               be reunified at least monthly to assess service delivery and achievement
               of service goals, to keep the family informed and involved in decisions
               about the child, and to remain current about the family's circumstances.
6.3.a.3        For children with a permanency goal of reunification, the case record shall          No         67
               document opportunities provided to parents in support of reunification.
6.3.a.4        When a recommendation to reunify a child with his/her family has been               No          68
                made, MDCPS shall develop an after-care plan with the family that              (97.0%, very
               identifies the services necessary to ensure that the conditions leading to         close)
               the child's placement in foster care have been addressed, and that the
               child's safety and stability will be assured. MDCPS shall take reasonable
               steps to provide or facilitate access to services necessary to support the
               child during the trial home visit.
6.3.a.5.a      By July 1, 2018, at least 75% of foster children who are reunified and who        Cannot         68
               were in custody longer than 90 days shall receive a 90-day trial home visit       validate
                period or have case record documentation reflecting the Youth Court's
               objection to such a trial home visit. During the trial home visit period,
                M DCPS shall provide or facilitate access to the services identified in the
               child's after-care plan, consistent with the 2"d MSA requirements.




                                                         13
 Case 3:04-cv-00251-HSO-ASH                   Document 857-26              Filed 09/03/19        Page 15 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 15 of 81




 Section        Commitment                                                                           Achieved   Report
                                                                                                                 Page
 6.3.a.6         Before the end of any trial home visit period, MDCPS shall convene a                   No        68
                 meeting with the child's parents and the child to determine the                 .
                 a ppropriateness of a final discharge. If final discharge is determined to be
                 appropriate, MDCPS shall make the appropriate application to the Youth
                 Court to be relieved of custody.
 6.3.b.1.a       By July 1, 2018, at least 70% of children in custody with the primary                  Yes      69
                 permanency goal of adoption shall have an assigned adoption specialist
                 and an adoption plan that identifies the child specific activities that
                 M DCPS will undertake to achieve adoption.
 6.3.b.2.a       By July 1,2018, a termination of parental rights referral shall be made on          Cannot      69
                 behalf of at least 70% of children who have spent more than 17 of the last          validate
                22 months in foster care by the last day of a child's seventeenth month in
                care, unless an available exception pursuant to the federal Adoption and
                Safe Families Act ("ASFA") has been documented by MDCPS in the child's
                case record.
6.3.b.3         MDCPS shall provide to the monitor a report of all TPR referrals made                  Yes       69
                during the monitoring period, the date those TPR referrals were made,
                and the date the TPR petition was filed with the court.
6.3.c           Defendants shall establish and maintain a system of post-adoptive                      Yes       70
                services to stabilize and maintain adoptive placements. Adoptive families
                eligible for adoption subsidies shall have access to these services, which
                may include services such as counseling, mental health treatment and
                crisis intervention, family preservation and stabilization services, and peer
               support.
6.3.d.1        The permanency goals of durable legal custody and guardianship may be                 Cannot     71
               assigned when there are documented efforts in the child's case record to              validate
                move the child to adoption and documentation of a reasonable basis why
               it is in the child's best interests not to be considered for adoption.
6.3.d.2        When the permanency goals of durable legal custody and guardianship                   Cannot     71
               are assigned to a child under the age of 14 years old or living with a non-           validate
               relative, MDCPS shall provide to the monitor at the end of each
               monitoring period, information from the child's case record documenting
               efforts to move the child to adoption and documentation of a reasonable
               basis why it is in the child's best interests not to be considered for
               adoption.
6.3.e          If MDCPS concludes, after considering reunification, adoption, durable            MDCPS did      71
              legal custody and permanent placement with a relative, that these                  not report
               permanency plans are inappropriate or unavailable for a child, MDCPS
               may assign a permanency goal of APPLA for the child (see 2' MSA for
              APPLA requirements).
6.4.a.1       By July 1, 2018, at least 80% of foster children who have been in custody                No       71
              for at least six months shall have a timely court or administrative case
              review consistent with 2"d MSA requirements.




                                                        14
Case 3:04-cv-00251-HSO-ASH                   Document 857-26             Filed 09/03/19        Page 16 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 16 of 81




Section        Commitment                                                                      Achieved     Report
                                                                                                             Page
6.4.b.1        By July 1, 2018,for at least 80% of foster children who have been in            MDCPS did      72
               custody for at least 12 months, MDCPS shall make reasonable efforts to          not report
               have a timely annual court review scheduled consistent with 2" MSA
               requirements.
6.4.c          M DCPS shall review documented exceptions pursuant to ASFA for children         M DCPS did    73
               w ho have spent more than 17 of the previous 22 months in foster care           not report
               during the child's foster care review.
6.5.a.1        By July 1, 2018, the monitor will establish the performance standard for           Yes        73
               the following indicator: Of all children who enter foster care in a 12-month
               period, what percent discharged to permanency within 12 months of
               entering foster care? The initial entry cohort for this indicator will be
               children who entered care between October 1, 2014 and September 30,
               2015.
6.5.a.2        By July 1, 2018, the monitor will establish the performance standard for           Yes        73
               the following indicator: Of all children in foster care on the first day of a
               12-month period, which shall commence on October 1st of any given year,
               who had been in care between 12 and 23 months, the percent of children
               discharged from foster care to permanency within 12 months of the first
               day of the 12-month period. The numerator is the number of children in
               the denominator who discharged from foster care to permanency within
               12 months of the first day of the 12-month period. The initial cohort for
               this indicator will be children in care on the first day of October 1, 2015,
                w ho had been in care for 12-23 months as of that day.
6.5.a.3         By July 1, 2018,the monitor will establish the performance standard for           Yes         73
               the following indicator: Of all children in foster care on the first day of a
               12-month period, which shall commence on October 1st of any given year,
               w ho had been in care for 24 months or more, the percent of children
                discharged from foster care to permanency within 12 months of the first
                day of the 12-month period. The numerator is the number of children in
               the denominator who discharged from foster care to permanency within
                12 months of the first day of the 12-month period. The initial cohort for
               this indicator will be children in care on the first day of October 1, 2015,
                who had been in care for 24 months or more as of that day.
6.5.c/ 6.5.d    By March 15, 2018, the monitor will establish the performance standards            Yes        74
               for the following indicator: for all children in the custody of MDCPS who
                were adopted in FFY2017, the monitor shall validate the average and
                median lengths of time to adoption finalization for each child from the
                date on which the child's adoption goal was established.
7.1             M DCPS shall provide each youth transitioning to independence with at              No         74
                least six months' advance notice of the cessation of any health, financial,
                or other benefits that will occur at the time of transition.
7.2             Each foster youth age 14 years and older, regardless of his/her                M DCPS did     75
                permanency plan, shall be provided with an opportunity to participate in       not report
                the creation of an appropriate Independent Living service plan for a
                successful transition to adulthood.


                                                         15
Case 3:04-cv-00251-HSO-ASH                 Document 857-26             Filed 09/03/19        Page 17 of 81
        Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 17 of 81




 Section    ' Commitment                                                                      Achieved    Report
                                                                                                           Page
 7.3           Each foster youth age 14 years and older shall have access to the range of        No         75
               supportive services necessary to support their preparation for and
               successful transition to adulthood. MDCPS shall maintain sufficient
               resources to deliver Independent Living services to all youth described
               herein.
 7.4           MDCPS shall implement a policy and a process by which youth                   MDCPS did     76
               emancipating from the foster care system at age 18 or beyond are              not report
               enrolled for Medicaid coverage so that their coverage continues without
               interruption at the time of emancipation.
 7.5           MDCPS shall implement a policy and a process by which youth                       No        76
               emancipating from the foster care system at age 18 or beyond receive a
              start-up stipend of at least $1,000.00 at the time of emancipation, or as
              soon as practicable thereafter.
7.6            MDCPS shall implement a policy and a process by which youth                   MDCPS did     77
               emancipating from the foster care system at age 18 or beyond have             not report
               access to a housing resource specialist responsible for assisting the youth
              obtain an adequate living arrangement.
7.7            MDCPS shall continue to implement policies and processes which ensure         MDCPS did     77
              that youth emancipating from the foster care system at age 18 or beyond        not report
              receive services and support under the State Educational Training and
              Vocational (ETV) Program for which they are eligible.
7.8.a         MDCPS shall assist youth in obtaining or compiling the following                Cannot       78
              document(s) and such efforts shall be documented in the child's case            validate
              record: Educational records, such as a high school diploma or general
              equivalency diploma, and a list of schools attended, when age-
              appropriate.
7.8.b         MDCPS shall assist youth in obtaining or compiling the following               Cannot       78
              document(s) and such efforts shall be documented in the child's case           validate
              record: A social security or social insurance number.
7.8.c         MDCPS shall assist youth in obtaining or compiling the following               Cannot       78
             document(s) and such efforts shall be documented in the child's case            validate
             record: A resume, when work experience can be described.
7.8.d         MDCPS shall assist youth in obtaining or compiling the following               Cannot       78
             document(s) and such efforts shall be documented in the child's case            validate
             record: A driver's license, when the ability to drive is a goal; if not a
             driver's license, then a state-issued, photo identification.
7.8.e        MDCPS shall assist youth in obtaining or compiling the following                Cannot       78
             document(s) and such efforts shall be documented in the child's case            validate
             record: An original or certified copy of the youth's birth certificate.
7.8.f        MDCPS shall assist youth in obtaining or compiling the following                Cannot       78
             document(s) and such efforts shall be documented in the child's case            validate
             record: Previous placement information.




                                                      16
Case 3:04-cv-00251-HSO-ASH                  Document 857-26             Filed 09/03/19       Page 18 of 81
          Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 18 of 81




Section        Commitment                                                                    Achieved     Report
                                                                                                           Page
7.8.g          MDCPS shall assist youth in obtaining or compiling the following              Cannot         78
               document(s) and such efforts shall be documented in the child's case          validate
               record: Documentation of immigration, citizenship, or naturalization,
               w hen applicable.
7.8.h          M DCPS shall assist youth in obtaining or compiling the following             Cannot        78
               document(s)and such efforts shall be documented in the child's case           validate
               record: Documentation of tribal eligibility or membership.
7.8.i          MDCPS shall assist youth in obtaining or compiling the following               Cannot       78
               document(s) and such efforts shall be documented in the child's'case           validate
               record: Death certificates when parents are deceased.
7.8.j          MDCPS shall assist youth in obtaining or compiling the following               Cannot       78
               document(s) and such efforts shall be documented in the child's case           validate
               record: A life book or a compilation of personal history and photographs,
               as appropriate.
7.8.k          M DCPS shall assist youth in obtaining or compiling the following              Cannot        78
               document(s) and such efforts shall be documented in the child's case           validate
               record: A list of known relatives, with relationships, addresses, telephone
               numbers, and permissions for contacting involved parties.
8.1.a.1        By July 1, 2018, 70% of children shall have an initial medical screening         No          78
               within 7 days of the child's entry into foster care.
8.1.b.1        By July 1, 2018, 70% of children shall have an initial EPDST or other            No          79
               comprehensive medical examination within 60 days of the child's entry
               into foster care.
8.1.c.1        By July 1, 2018, the monitors in collaboration with MDCPS will establish         Yes         79
               the performance baseline for periodic and ongoing medical examinations.
8.1.c.2         By July 31, 2018, the monitor will establish performance standards for          Yes         79
                M DCPS to meet by July 1, 2019.
8.1.d.2         By July 1, 2018,60% of children shall be provided with practitioner          M DCPS did     79
                recommended follow-up treatment.                                             not report
8.1.e.1         By July 1, 2018,60% of children shall have a dental examination within 90        No         79
                days of the child's entry into foster care.
8.1.f.1         By July 1, 2018,75% of children shall have information provided to foster    M DCPS did     80
                parents or facility staff within 15 days of placement.                       not report
8.1.g           By July 1, 2018,85% of children shall have their Medicaid information        M DCPS did     80
                provided to foster parents or facility staff at the time of placement.       not report
8.2.a           M DCPS shall review the educational record of each child who enters          M DCPS did     80
                custody for the purpose of identifying the child's general and, if           not report
                applicable, special educational needs and shall document the child's
               educational needs within 30 calendar days of his/her entry into foster
                care.
8.2.b           M DCPS shall take reasonable steps to ensure that school-age foster          M DCPS did     80
                children are registered for and attending accredited schools within seven    not report
                calendar days of initial placement or any placement change, including
                w hile placed in shelters or other temporary placements.


                                                        17
Case 3:04-cv-00251-HSO-ASH               Document 857-26           Filed 09/03/19      Page 19 of 81
        Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 19 of 81




  CUD         omm     ent                                                              Achieved       Report
                                                                                                       Page
8.2.c.1      At least 90% of school-age foster children who enter custody shall have    MDCPS did    1 80
             their educational records reviewed and their educational needs            .not report
             documented by MDCPS within 30 calendar days of their entry into foster
             care.




                                                   18
Case 3:04-cv-00251-HSO-ASH                     Document 857-26               Filed 09/03/19           Page 20 of 81
      Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 20 of 81




  Methodology
  To prepare this report, the monitoring team conducted a series of verification activities to
  evaluate MDCPS' progress implementing its commitments in the 2nd MSA. The monitoring team
  conducted extensive reviews of thousands of records and other data and information, reviewed
  and analyzed a wide range of aggregate and detail data produced by MDCPS, and reviewed
   policies, memos, and other internal information relevant to MDCPS' work during the period. The
   monitoring team held meetings with the parties pursuant to Section 9.4 of the rd MSA; regular
  meetings with MDCPS leadership and program staff; meetings with management and staff at
  M DCPS regional and county offices; and meetings with numerous public and private
  stakeholders. The monitoring team interviewed staff and supervisors across the state and
  discussed the pace, progress and challenges of the system improvement work. To verify
  information produced by MDCPS, the monitoring team conducted extensive field-based
   interviews, cross-data validation and qualitative case record reviews.1

   Demographics
   M DCPS produced demographic data for the period from January 1, 2018 to December 31, 2018.
   M DCPS data indicate there were 5,577 children in custody on January 1, 2018 and 4,811 children
  in custody as of December 31, 2018. During the monitoring period, 2,790 youth were placed in
  foster care and 3,549 children exited care.2 MDCPS served 8,287 children during the monitoring
  period. Young children aged zero to six years made up the largest portion (2,148 or 45 percent).
  Twenty-six percent of youth (1,252) were 12 to 17 years of age, 25 percent of children (1,229)
   were seven to 11 years of age and four percent of youth (182) were 18 years and over, as detailed
   in Figure 1.




 ' The monitoring team conducted extensive qualitative reviews of more than 2,000 children's cases, and the
 findings are included in the relevant sections of this report. In most instances, the sample sizes for the monitoring
 team's case record reviews were based on a statistically significant sample of cases and methodology based on a
 90 percent confidence level.
 'The monitoring team identified 31 children who appear twice in MDCPS' entry cohort data. Each of these children
 entered foster care more than once during the monitoring period. The monitoring team also identified 25 children
 who appeared twice in the exit cohort. Each of these children exited foster care two times during the monitoring
 period.

                                                           19
Case 3:04-cv-00251-HSO-ASH                  Document 857-26              Filed 09/03/19          Page 21 of 81
        Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 21 of 81




                         Figure 1. Age of Children in Custody on December 31, 2018
                                                         n=4,811
                                           Ages 18+
                                             182
                                             4%



                                            Ages 12-17
                                              1252
                                              26%                    Ages0-6
                                                                      2148
                                                                      45%


                                                      Ages7-11
                                                        1229
                                                        25%




      The population of children in care on December 31, 2018 was approximately evenly split by
      gender, with 51 percent of children in care male and 49 percent female. Regarding race,
                                                                                              the
      population of children was 54 percent White, 37 percent African American, 0.1 percent Asian,
   0.1 percent Native Hawaiian or Pacific Islander, and 0.1 percent Native American. Additionally,
      three percent of children reported being of mixed race. Two percent of children were identified
      with Hispanic ethnicity and can be of any race. The race of five percent of children was
      u ndetermined.3

                        Table 1. Race of Children in Custody on December 31,2018

                                            Race                 Count Percent
                         White                                   2,620      54%
                         African American                        1,778      37%
                         Unable to Determine                      246       5%
                         Mixed Race                               152       3%
                         Asian                                     6       0.1%
                         Native Hawaiian, Pacific Islander         5       0.1%
                         Native American                           4       0.1%
                                                         Total 4,811       100%
                         Hispanic ethnicity and of any race       92        2%
                         Note: Percentages may not add up to 100 due to rounding.




  3 Children whose race was explicitly marked as 'Unable to Determine' and whose race was not found
                                                                                                    are combined
  into the entry for'Unable to Determine'.

                                                         20
Case 3:04-cv-00251-HSO-ASH                     Document 857-26           Filed 09/03/19       Page 22 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 22 of 81




  As the following figure demonstrates,90 percent of children in MDCPS'custody on December 31,
  2018 lived in family settings, including foster families (47 percent), with relatives (33 percent),
  with their own parents (8 percent), in homes that intend to adopt(1 percent), and in homes of
  u nrelated caregivers (0.2 percent). Of children in custody, 425 (9 percent) lived in institutional
  settings, including residential treatment and other congregate care facilities. Another 13 (0.3
  percent) youth resided in Supervised Independent Living placements, which serve youth who are
  preparing to transition out of care.

              Figure 2. Placement Types of Children in Custody on December 31, 2018
                                              n=4,811

             Family Based                                                                     4309


              Institutional Ma 425


    Missing Placement Type   1 43


                 Runaway 1 21


              Independent I 13


                             0       500     1000   1500   2000   2500   3000   3500   4000   4500   5000



  Of the children in care on December 31, 2018, 40 percent were in care less than one year, while
  18 percent were in care for more than three years.

           Figure 3. Length of Stay in Care of Children in Custody on December 31, 2018
                                                n=4,811

                                 3-6 years
                                   357
                                    7%.




                                                           21
Case 3:04-cv-00251-HSO-ASH             Document 857-26         Filed 09/03/19       Page 23 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 23 of 81




             Table 2. Exits from Care by Exit Type,January 1, 2018 to December 31, 2018

                                     Exit Type                  Count Percent
                      Reunification                             1,968     55%
                      Adoption                                   617      17%
                      Living with other relatives                453      13%
                      Guardianship                               350      10%
                      Emancipation                               87        2%
                      County of Service Placement Change         26       0.7%
                      Runaway                                    26       0.7%
                      Transfer to another agency                 13       0.4%
                      Death of a child                            9       0.3%
                                                       Total 3,549       100%
                       Note: Percentages may not add up to 100 due to rounding.

   As the table below demonstrates, of the children in custody on December 31, 2018, half had
   reunification as a federal goal. For the remaining children, 1,861 (39 percent) had a goal of
   adoption, 231(5 percent) had a goal of APPLA,63(1 percent) had a goal of durable legal custody
   or guardianship, and 135(3 percent) had placement with a relative as a federal goal. There were
   139 children (3 percent) with missing federal goal codes.

              Table 3. Federal Goals for Children in Custody as of December 31,2018

                                   Federal Goal                         Count Percent
               Reunification                                            2,382   50%
               Adoption                                                 1,861   39%
               APPLA                                                     231    5%
               Custody with a relative                                   135    3%
               No plan documented (less than 45 days in custody)         109    2%
               Durable legal custody/ guardianship                       63     1%
               No plan documented (no current approved FSP)              30    0.6%
                                                               Total 4,811     100%
                       Note: Percentages may not add up to 100 due to rounding

  Creation of the Mississippi Department of Child Protection Services
  The parties agreed in the Stipulated Third Remedial Order (STRO), approved by the Court on
  December 19, 2016, that Mississippi would complete the creation and implementation of a fully
  functional child welfare agency, which is independent of, although housed within,the Mississippi
  Department of Human Services (MDHS), not later than July 1, 2018. This provision of the STRO
  remained in effect when the 2nd MSA began on January 1, 2018. On May 13, 2016, Governor Phil
  Bryant signed legislation (Senate Bill 2179) that created MDCPS, an independent cabinet-level


                                                  22
Case 3:04-cv-00251-HSO-ASH              Document 857-26           Filed 09/03/19       Page 24 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 24 of 81




  department, headed by a commissioner, to serve as the state's lead child welfare agency. By
  creating this new department, the responsibility of child protection was removed from MDHS.
  The enabling legislation provided for the Commissioner of MDCPS and the Executive Director of
  MDHS to develop and implement a plan for the orderly transition of MDCPS from the MDHS
  Office of Family and Children's Services, including the transfer of equipment, records, resources
  and dedicated child welfare funds and the allocation of shared services. MDCPS determined that
  the complete separation from MDHS would prevent the two departments from using state-
  appointed funds as matching funds to draw down certain federal dollars. As such, MDCPS and
  MDHS requested that the legislature amend Senate Bill 2179 to maintain MDCPS as a sub-agency
  of MDHS with the Commissioner of MDCPS retaining full operational control of MDCPS. This
  legislation was passed and on April 13, 2018 Governor Bryant signed the legislation (Senate Bill
  2675). Beginning in 2016, the two departments have maintained a series of memoranda of
  understanding between them with respect to the identification of blended responsibilities and
  the establishment of guidelines for shared functions, cost reduction, and access to federal funds.

  Operational Budget
  The 2nd MSA requires MDCPS to request state funds and any federal/special fund authorization
  sufficient to effect the provisions and outcome measures set forth in this 2nd MSA. For state fiscal
  year (SFY) 2018 (July 1, 2017 to June 30, 2018), MDCPS was appropriated $97,969,323 and later
  requested and received from the Mississippi Legislature an additional $12,000,000 deficit
  appropriation. During the 2018 Mississippi legislative session, MDCPS requested a state fund
  appropriation of $133,626,889.78 for SFY2019(July 1, 2018 to June 30,2019). This request sought
  an increase of $23,657,566 from the prior fiscal year's state funding. MDCPS' request for
  increased funding centered on its desire to hire additional staff to achieve compliance with the
  caseload requirement in the 2nd MSA, and its need to develop a Comprehensive Child Welfare
  I nformation System (CCWIS) data system as required by the 2nd MSA. However, the Mississippi
  Legislature only appropriated MDCPS $97,994,298 in state general funds and $12,000,000 in
  state special funds,for a total state funding of $109,994,298, which fell short of MDCPS' request
  by $23,632,591. MDCPS also received $88,504,053 in federal funds in fiscal year 2018 and
  estimated receiving $97,371,706 in federal funds in fiscal year 2019.


  1. Systemic Infrastructure Standards
  Department Leadership
  M DCPS committed in the 2nd MSA to maintain a Commissioner of Child Protection Services having
  responsibility for the oversight and management of the Department. The Commissioner must
  possess at least a bachelor's degree from an accredited institution of higher learning and ten


                                                   23
Case 3:04-cv-00251-HSO-ASH                     Document 857-26                Filed 09/03/19           Page 25 of 81
      Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 25 of 81




    years' experience in management, public administration,finance, or accounting or a master's or
    doctoral degree from an accredited institution of higher learning and five years' experience in
    management, public administration,finance, law, or accounting.

   Prior to his appointment, the monitoring team had an opportunity to meet with Commissioner
   Jess H. Dickinson and review his qualifications for the position. Commissioner Dickinson
   possesses a Juris Doctorate degree from the University of Mississippi School of Law and had more
   than 35 years of experience in law, serving both as an attorney and a justice in the Mississippi
   legal and judiciary systems, respectively. Commissioner Dickinson possesses the requisite
   qualifications to serve as commissioner of MDCPS.

   Staff Qualifications and Training
   MDCPS committed to ensure that staff serving Mississippi's at-risk children and families have
   appropriate qualifications and receive adequate training.

   Caseworker Qualifications(1.1.a.)

    MDCPS reported 197 caseworkers were hired in 2018. All caseworkers are required to have, at
   minimum, a bachelor's degree in social work or a related human services field that is approved
   as a qualifying degree by the monitor.4 Comparing the reported degrees for all the caseworkers
   hired in 2018 to the list of qualifying degrees, all the caseworkers possessed an approved degree.
   The monitoring team also reviewed the paper degrees or official transcripts for a randomly-
   selected sample of55 caseworkers hired in 2018 and confirmed that all the caseworkers' degrees
   in the sample were accurately reported.

  Supervisory Qualifications(1.1.b.)

   In the 2nd MSA, MDCPS agreed that new caseworker supervisors must possess either a master's
  degree in social work or an approved qualifying human services degree and two years of
  experience working with children and families or a bachelor's degree in social work or an
  approved qualifying human services degree with three years of experience working with children
  and families. MDCPS reported 44 caseworker supervisors were appointed during 2018. The
  monitoring team compared the reported degrees for all the caseworker supervisors appointed
  in 2018 to the list of qualifying degrees and reviewed the paper degrees or official transcripts and




  4 MDCPS submitted and the monitor approved the following degrees as related human
                                                                                           services degrees: Child and
  Family Studies, Child Development, Counseling, Criminal Justice, Disciplinary Studies, Early Childhood and Family,
  Education, Education and Human Science, Elementary Education, Family Studies, General Studies, Guidance
  Education, Interdisciplinary Studies, Marriage and Family Therapy, Nursing, Political Science, Psychology, and
  Sociology.

                                                          24
         Case 3:04-cv-00251-HSO-ASH                  Document 857-26             Filed 09/03/19          Page 26 of 81
              Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 26 of 81




           job applications for the caseworker supervisors and determined that all the supervisors
           possessed an approved degree and the requisite years of experience.

           Training Unit(1.2.a.)

           MDCPS committed to maintain a Training Unit headed by a qualified director of training with
           adequate staffing, funding and resources to assure that comprehensive child welfare training is
           provided to caseworkers, supervisors and other child welfare employees. The child welfare
           training should enable staff to comply with the relevant mandates of the 2nd MSA, MDCPS policy,
           and reasonable professional standards. During 2018, the MDCPS Office of Professional
           Development (OPD) administered training and professional development in order to prepare
           MDCPS employees to assume their job responsibilities and enhance their knowledge, skills and
           abilities. Specifically, OPD delivered pre-service, supervisory and in-service training to
           Department staff during the period. OPD was led by a senior manager with an advanced degree
           and nine years of experience as a director of workforce development and a director of
           professional development in Mississippi's child welfare agency. Unit staff included approximately
           35 training coordinators and practice model coaches, along with five supervisors,funded by both
           state and federal dollars.

           Pre-Service Training (1.2.b.)

           All new MDCPS caseworkers must complete a total of 270 hours of pre-service training, which
           includes classroom instruction,field instruction, and E-Learning.The pre-service training program
           offered by MDCPS' OPD exceeds 270 hours of training with a combination of eight alternating
           weeks of classroom instruction and on-the-job training. During on-the-job training weeks,certain
           material is delivered through online learning.

           MDCPS reported that 132 of the 197 new workers hired in 2018 completed pre-service training
           during the period. Twenty-six caseworkers previously employed and trained by MDCPS were
           rehired by the Department and exempt from pre-service training.5 Ten workers left the
           Department either before starting or before completing training. One worker hired in November
           2018 has been unable to attend training, reportedly due to medical complications and will
           complete training once medically cleared. The remaining 28 workers were hired into their
           positions late in the period and were enrolled in training that ended in the first quarter of 2019.

           The monitoring team reviewed the four competency exams administered during pre-service
           training for a randomly-selected sample of 55 caseworkers hired in 2018 and confirmed that 47
           caseworkers in the sample achieved a passing score of 70 or higher on each of the four exams


(611*1     5 Caseworkers and supervisors who have successfully completed MDCPS'current pre-service training are not
           required to attend training again.

                                                                25
Case 3:04-cv-00251-HSO-ASH             Document 857-26          Filed 09/03/19       Page 27 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 27 of 81




   and one caseworker left training before completing any of the competency exams.The remaining
   seven caseworkers in the sample were rehired, had been previously employed and trained by
   MDCPS and did not need to again complete pre-service training.

   Training Caseloads (1.2.c.)

   The 2nd MSA allows a trainee to be assigned responsibility for a "training caseload," under
   appropriate supervision, that gradually increases as the trainee successfully completes pertinent
   competence-based examinations. MDCPS has elected not to implement training caseloads at this
   time. MDCPS will notify the monitor before instituting training caseloads so the required
   competency exams and standards for passing the exams can first be reviewed and approved by
   the monitor.

   In-Service Training (1.2.d.)

  MDCPS agreed that all caseworkers must complete a minimum of 20 in-service training hours in
  2018 and all supervisors must complete a minimum of 12 in-service training hours in 2018.
  MDCPS provided data to the monitoring team indicating that all 855 caseworkers and
  investigators received 20 or more in-service training hours and all 258 supervisors received 12 or
  more in-service training hours during 2018, as required. In-service training covered a wide range
  of topics such as Comprehensive Addiction and Recovery Act policy, Interstate Compact on the
  Placement of Children, educational services, human trafficking, staff safety, termination of
  parental rights, and youth transition support services.

  Supervisor Training (1.2.e.)

  MDCPS committed in the 2nd MSA that caseworker supervisors must complete a minimum of 40
  hours of training directed specifically at the supervision of child welfare caseworkers within 90
  days of assuming a supervisory position. OPD offers a clinical supervisory training program
  consisting of 40 hours of classroom training based on identified competencies.

   MDCPS provided information indicating that of the 44 caseworker supervisors appointed in the
   period, 41 supervisors met the 90-day requirement for training completion. One supervisor
  appointed late in 2018 was pending training at the end of the period; one supervisor left the
  Department prior to completing training; and one supervisor who had been previously employed
  and trained by MDCPS, was rehired as a supervisor and exempt from supervisory training. The
  monitoring team reviewed the competency exam administered at the end of supervisory training
  for the 41 supervisors who completed training in 2018 and confirmed that all had achieved a
  passing score of 70 or higher on the competency exam.




                                                26
Case 3:04-cv-00251-HSO-ASH              Document 857-26            Filed 09/03/19         Page 28 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 28 of 81




  Caseloads and Supervision
  Caseworker Caseloads(1.3.a.)

  The 2nd MSA sets forth caseload standards for staff and supervisors performing critical child
  welfare functions. The 2nd MSA states that 90 percent of MDCPS caseworkers must have
  caseloads that do not exceed the caseload standards for each type of case. Individual MDCPS
  caseworkers who carry a mixed caseload are held to a weighted, pro-rated standard. The table
  below details the caseload standards for each type of case.

                         Table 4. 2nd MSA Caseload Standards by Case Type

                                                                                               Weight Per
      Type of Case                     Included Categories                    Standards       Case — 100%
                                                                                                Capacity
   Child Protection      Investigations Level 2                                    14           0.0714
                         I nvestigations Level 3                             Investigations
   Ongoing Foster Care   Placement Responsibility & Service                   14 Children       0.0714
   Ongoing Foster Care   Placement County of Responsibility                                     0.0357
                         Placement County of Service
   I n-Home              Protection Responsibility & Service                  17 Families       0.0588
                         Prevention Responsibility & Service
   In-Home               Protection or Prevention County of Responsibility                      0.0294
                         Protection or Prevention County of Service
   Adoption              Adoption County of Service                           15 Children       0.0667

   New Application       Resource Inquiry                                     15 Homes          0.0667
   Licensing             ICPC Application
                         Foster Home Study
   Renewal Licensing     Foster Home Supervision                              36 Homes          0.0278
                         Foster Home Renewal

  The parties agreed in the STRO that MDCPS would build capacity in 2017 to meet these standards
  by the start of 2018. However, as the following chart demonstrates, MDCPS did not meet the 90
  percent caseload standard for its staff in any quarter during 2018.




                                                   27
Case 3:04-cv-00251-HSO-ASH                Document 857-26            Filed 09/03/19          Page 29 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 29 of 81




                   Figure 4. Percent of Workers Meeting the Caseload Standard, 2018

            100%
                                                                                       90%
            90%

            80%

            70%
                         60%
            60%                         57%.                           57%_

            50%                                          47%

            40%

            30%

            20%

            10%

             0%
                          Q1             Q2              Q3              Q4        Perf. Standard
                 *Dota as of the middle of March,June,September and December   Source: MDCPS Data
  Supervisor Staffing Ratios(1.3.b.)

  In order to ensure appropriate attention and oversight of its staff's work with children and
  families, MDCPS agreed that 85 percent of supervisors would be responsible for overseeing no
  more than five caseworkers each.

    Figure S. Percent of Caseworker Supervisors Meeting the Supervision Ratio Standard, 2018

         100%



          90%
                                                                                      85%


          80%                                         78%             79%
                       75%            76%


          70%



          60%



          50%
                       Q1              Q2             Q3              Q4         Perf.Standard
                *Data as ofthe end ofMarch,June,September and December         Source: MDCPS Data



                                                    28
Case 3:04-cv-00251-HSO-ASH                   Document 857-26              Filed 09/03/19          Page 30 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 30 of 81




  As the chart above indicates, MDCPS did not meet the caseworker supervisors' workload
  standard of 85 percent in any quarter during 2018.6

  Caseload Verification

  The monitoring team undertook an in-depth review of caseload reporting for the period. From
  August to November 2018, the monitoring team interviewed casework staff about their
  workloads in six MDCPS county and regional offices. Interviews included both supervisory and
  caseload-carrying staff randomly selected by the monitoring team, working in Harrison, Hancock,
  Hinds, Lee, Lowndes and Jackson counties. Staff members were directed to bring printouts of
  their caseloads, typically from the previous workday, with them to interviews. The monitoring
  team reviewed the caseload assignments with the workers and/or their supervisors and inquired
  whether the printouts represented all their caseload assignments as of that day, which coincided
  with the date of an official MDCPS caseload count. The monitoring team then compared the
  workload printouts of these hundreds of cases identified across all the interviews, with MDCPS'
  official caseload submissions to determine if they aligned.

  Based on interviews with 160 caseworkers, 33 supervisors, three deputy directors, and four
  regional directors in MDCPS, and data analysis involving thousands of cases statewide, the
  monitoring team concludes the caseload data and information provided by the Department
  accurately reflects MDCPS' caseload performance.

  Continuous Quality Improvement
  Continuous Quality Improvement Plan (1.4.a.)

  Pursuant to the 2" MSA, MDCPS is required to develop an annual Continuous Quality
  I mprovement(CQI) Plan by December 1" of each year, which shall be subject to the approval of
  the monitor after consultation with the parties.

  The monitoring team reviewed the initial draft CQI plan for 2019, which was submitted timely by
  M DCPS on November 15, 2018, and had extensive discussions with MDCPS regarding the planned
  CQI activities and processes. Based on feedback from the monitoring team, MDCPS submitted
  u pdates to both the plan and supporting CQI tools. The monitoring team also shared the CQI plan
  with plaintiffs' counsel, who provided their feedback.

  The monitoring team approved the 2019 CQI Plan for implementation in April 2019, after MDCPS
  submitted final edits to the Plan. There are several commitments discussed in this report for
  which MDCPS did not submit evidence of performance. MDCPS indicates the agency intends to


  6 At any given time during 2018, between 15 and 20 supervisors also carried caseloads ranging from one to 31
  cases.

                                                         29
Case 3:04-cv-00251-HSO-ASH                  Document 857-26             Filed 09/03/19          Page 31 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 31 of 81




   report its 2019 performance for many of these commitments through implementation of the
   2019 CQI plan approved by the monitors.

    Management Information Systems & Data Reporting
   Comprehensive Information Systems and Reporting(1.5.a.)

   The 2nd MSA requires MDCPS to maintain comprehensive information systems that permit:(1)
   timely access by authorized MDCPS staff to information, including current and hitorical case
    documents,to support child safety and continuity of care across placement settings and services;
   (2) capturing, tracking, and reporting of applicable financial information, quantitative 2nd MSA
    compliance, longitudinal performance, and child welfare information, including federally
    required elements; and (3) prompts for workers and supervisors regarding required actions in a
    child's case and whether they have taken place.

   MDCPS' primary information system is the Mississippi Automated Child Welfare Information
   System (MACWIS). MDCPS also has ancillary information systems or tracking tools that are not
   directly connected to MACWIS but may leverage data from it, such as Excel sheets used to track
   resource homes involved in expedited pending relative placements;to track and report on newly
   licensed and closed homes, and to facilitate and document the results of manual reviews of
   substantiated reports of maltreatment.

   MDCPS reported employees are granted the appropriate level of access to MACWIS as part of
   the new hire process for caseworkers,supervisors, and identified State Office staff with positions
   and job responsibilities that require access to the system. A unique MACWIS ID is assigned to
   new caseworkers typically during the first week of pre-service classroom training. MDCPS reports
   quarterly to the monitor the MACWIS ID of new caseworkers granted access to the system.

   The monitoring team generally has been able to identify children across multiple MACWIS data
   files to create a timeline of their placement settings and services while in MDCPS custody.
   MDCPS, however, has been unable to consistently and reliably report from MACWIS current and
   historical data of children in custody for numerous 2nd MSA commitments as noted below and in
   the pertinent sections of this report.

   MACWIS contains a financial module the monitoring team used to verify that MDCPS was issuing
   foster care board payments to foster parents consistent with the child's age and placement type.
   The monitoring team requested and received from MDCPS data from MACWIS relating to the


     MDCPS refers to unlicensed relative home placements as expedited pending relative placements.




                                                         30
Case 3:04-cv-00251-HSO-ASH                  Document 857-26             Filed 09/03/19          Page 32 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 32 of 81




  board rates foster parents were receiving for children on December 31, 2018.8 See Section 1.8.a.,
  below,for details of the monitoring team's review of foster care board rates.

  The monitoring team confirmed that MDCPS' responses to various 2nd MSA commitments
  included many of the required data elements for the National Child Abuse and Neglect Data
  System (NCANDS) and the Adoption and Foster Care Analysis and Reporting System (AFCARS).
  MDCPS also provided correspondence from the Administration for Children and Families within
  the United States Department of Health and Human Services accepting MDCPS' FFY2018 NCANDS
  Child File and Agency File and its National Youth in Transition submissions derived from MDCPS
  data systems. MDCPS reports that MACWIS users have view-only access of TANF and child
  support data systems.

  The monitoring team received from MDCPS a MACWIS Tickler Types Report listing alert
  notifications available to staff for actions taken and actions needed.

  MDCPS produced data from MACWIS to demonstrate performance on some but not all
  commitments for the 2nd MSA and to document baseline populations and samples for qualitative
  reviews. MDCPS also submitted "cohort" data, which identifies children's entries and exits from
  foster care during the period, the population of children served during the period, and the
  population of children in care at the beginning and end of the period. The monitoring team
  analyzed the information to verify the data quality, assessed the methodology used to compute
  performance for each metric, and attempted to replicate the performance calculations made by
   MDCPS. In these efforts, both MDCPS and the monitoring team relied on business rules jointly
  developed between the monitoring team and MDCPS and insights obtained from prior validation
  efforts.9

  As noted above, MDCPS is required to capture, track and report applicable financial information,
  quantitative 2nd MSA compliance, longitudinal performance, and child welfare information,
  including federally required elements. MDCPS did not report data on 18 commitments and the
  monitoring team cannot validate quantitative data submitted by MDCPS for another 23
  commitments.These 41 commitments are delineated in the Summary of Commitments and the
  relevant sections of this report. Data problems include the manner in which MDCPS documents
  and identifies certain data fields, coding errors, MDCPS performance calculations that are
  inconsistent with the established business rules, and data files provided by MDCPS that the
   monitoring team was unable to replicate using the established business rules.



 'The monitoring team conducted a qualitative review of board rates in MACWIS under commitment 1.8.
 9 Since personnel changes occurred in the MDCPS data unit in March 2018, MDCPS has had more difficulty
 responding timely and adeptly to inquiries related to data business rules,file creation and performance
 calculations.

                                                        31
Case 3:04-cv-00251-HSO-ASH                    Document 857-26              Filed 09/03/19           Page 33 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 33 of 81




   The monitoring team found three significant and recurring data quality problems during the
   period: measuring maltreatment in care; tracking foster homes; and workers documenting
   resource identification numbers in MACWIS.

       • Measuring maltreatment in care. In validating Section 2.9 (MIC rate, where the
          perpetrator must be a foster parent or a residential facility staff member),the monitoring
         team determined and MDCPS confirmed that the perpetrator relationship was incorrect
         for many reports of maltreatment, and may indicate a foster care provider or a non-foster
         care provider erroneously. The monitoring team also noted the incident date was not a
         reliable indicator of when the maltreatment occurred° because the incident date was
         often missing or identical to the report date. To address these issues, MDCPS and the
         monitoring team conducted a manual review of hundreds of substantiated reports of
         maltreatment in CY2018 to confirm whether the alleged maltreatment involved a
         custodial child in care at the time of the maltreatment and whether the perpetrator was
         a foster care provider.This manual review identified 18 perpetrator relationships needing
         correction and 24 allegations that clearly involved a custodial child but, according to
         MACWIS, did not indicate a custodial child was involved and/or were not investigated by
         the Special Investigations Unit.
      • Tracking foster homes. The monitoring team identified numerous data quality problems
         related to the manual process MDCPS uses for collecting data for Section 3.1. Specifically,
        there were errors and inconsistencies in the Expedited Placements Master List,11 such as
         homes that were "Closed — added in error"; homes where the Resource ID was actually a
        date; missing Resource IDs; duplicate homes/Resource IDs in a file designed to be unique;
        Excel formulas that reference the incorrect column or value; and the manner in which
        "Action Taken" reasons are recorded. Likewise, the structure of MDCPS's monthly files
        related to Section 3.3.b often varied from month to month in terms of format and
        compilation.
      • Workers documenting Resource IDs in MACWIS. In validating Section 4.1 (Foster home
        licensure limits), the monitoring team discovered that MDCPS excluded on average 137
        homes per quarter, mostly therapeutic foster homes, because the Resource ID that
        identifies the child's placement was for an umbrella child placing agency(CPA)(i.e., not
        the actual home in which the child is placed ("sub-resource") but instead the CPA that
        oversees that home). In these instances, the specific household members in the child's


  1° An accurate incident date could help determine if the alleged maltreatment occurred during the child's custody
  episode.
  11 This list includes homes for all unlicensed, expedited relative placements that have been tracked by the
  Continuous Quality Improvement(CQI)'s Evaluation and Monitoring Unit(EMU)since July 24, 2017, when EMU
  revised the tracking sheet and process.

                                                         32
Case 3:04-cv-00251-HSO-ASH                   Document 857-26          Filed 09/03/19         Page 34 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 34 of 81




         placement are not documented in MACWIS. When a child is placed in a setting that is part
         of an umbrella agency, MACWIS:
              a. requires workers to select the umbrella agency but does not require them to
                 select the subordinate resource;

              b. does not capture all household members for sub-resources because they do not
                 go through MDCPS' inquiry process where such information is usually collected.
                  The umbrella agency, not MDCPS, licenses its own sub-resources.

          In Section 4.1, the monitoring team could not validate performance for placements that
          did not indicate in MACWIS a Resource ID for the sub-resource home. The Resource ID
          issue also affected the monitoring team's ability to validate Section 5.1.d.1 related to
          visits with foster parents, since validation relies on identifying the foster parent
          associated with the Resource ID which is not possible when the Resource ID represents
          an umbrella agency.

  Staff Resources(1.6.a.)

  Pursuant to the 2nd MSA, MDCPS committed to provide to all its county staff with child welfare
  responsibilities access to computer services, word processing and electronic mail; access to the
  current management information systems; and access to a revised modular information system,
  CCWIS, once implemented.12 MDCPS produced a list with 1,177 caseworker and supervisor
  names, and their respective email addresses, network IDs, MACWIS IDs and job titles.
  Additionally, MDCPS produced quarterly the names, email addresses, network IDs, MACWIS IDs
  and job titles for newly hired workers. The monitor verified this information during in-person
  interviews with 160 randomly-selected MDCPS staff across Mississippi.

  Staff Access to Data (1.6.b.)

  MDCPS committed to collect, analyze and make available, at least quarterly, to MDCPS regional
  and county staff, data related to compliance with the 2nd MSA's Foster Care Service Standards.
  MDCPS produces Focus on Data reports that are available to all staff and are scheduled to be
  updated daily. The reports graph county performance and can be downloaded in Excel and PDF
  formats. The monitoring team confirmed there are 37 separate reports, covering 23 individual
  commitments13 that can be accessed by staff at any time.




  12 CCWIS is not required to be implemented until June 30, 2021.
  13Some 2" MSA commitments have multiple reports that cover different aspects of the commitment.

                                                         33
Case 3:04-cv-00251-HSO-ASH              Document 857-26           Filed 09/03/19       Page 35 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 35 of 81




   Electronic Placement Database (1.6.c.)

   The 2nd MSA requires that MDCPS county staff have access to an electronic statewide database
   of available placement resources. MDCPS reports that the Department released a Placement:
   Matching Tool available to all staff on March 21, 2018, which is a component of CCWIS that
   MDCPS committed to implement by June 30,2021.The matching tool is designed for use by both
   frontline workers and licensure staff. A step-by-step training video and instructions are available
   to staff through MDCPS'SharePoint intranet platform.

   The Placement Matching Tool allows workers to search for a suitable placement for a child in
   custody, pulling basic demographic and address information from MACWIS. A search can be
   conducted using the child's name or the address of removal.The default search identifies homes
   within a 50-mile radius of the child's address of removal that have availability for a child of the
   specified age and gender. There are advanced search options that allow the worker to change
   the radius distance,search by special needs, and search for resource homes that provide specific
   types of services. The search results provide contact information for the home and licensure
   specialist, along with basic information about other children in the home. MDCPS structured the
   tool to include information as to whether there has been prior abuse and neglect referrals
   regarding the home, the date of the referrals, and final dispositions. Substantiated referral
   information is prominently displayed in red. Prior screened-out referrals are also included in the
   search results for a home.

   The monitoring team reviewed the Placement Matching Tool video and instructions, sampled
   usage of the tool and found it to be a potentially important, viable resource for finding best
   placements for children. MDCPS indicates there will be future enhancements to the tool, and the
   monitoring team will undertake additional verification of its functionality in 2019.




                                                  34
Case 3:04-cv-00251-HSO-ASH             Document 857-26          Filed 09/03/19       Page 36 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 36 of 81




  Performance Based Contracting
  Performance Based Contracting (1.7)

  MDCPS committed to establish, maintain and assess the effectiveness of a performance-based
  contracting system to evaluate annually contract agency compliance with the terms of the 2nd
  MSA (1.7.a). MDCPS further agreed to take all reasonable steps to ensure contract agency
  remediation of identified deficiencies within three months. An agency's failure to participate in
  remediation efforts is grounds for contract termination.

  MDCPS reports that for this monitoring period the Department began to implement the new
  system by transitioning 14 therapeutic foster care, group home and shelter programs to
  performance-based contracts. Each of these contracts include performance-based outcome
  standards. Included in the contract's scope of services is the following language that requires
  agencies to comply with rd MSA commitments:

         "Independent contractor will perform and complete in a timely manner and
         satisfactory manner the services described in the 'Scope of Services' attached
         hereto as Exhibit A, and the 'Second Modified Mississippi Settlement Agreement
         Reform Plan,' attached hereto as Exhibit B,and incorporated herein by reference."

  During the monitoring period, MDCPS conducted performance evaluations for six of the contracts
  against the new performance-based standards. MDCPS represents the remaining eight contracts
  will be evaluated in the next monitoring period. The monitoring team reviewed the 14 contracts
  and found that performance-based standards are embedded in the contracts relative to service
  delivery, quality of services delivered and licensing evaluations. The performance-based
  evaluation process includes case record reviews conducted by MDCPS' performance-based
  contract unit(PBC) of the following practice areas:

     • Initial Strengths and Needs Assessment
     • Preserving Connections
     • Teaming and Permanency Planning
     • Service Provision
     • Preparing Youth for Adulthood
     • Placement Stability and Discharge Planning
     • Caseworker Contact with the Child
     • Child Safety



                                                 35
Case 3:04-cv-00251-HSO-ASH            Document 857-26          Filed 09/03/19       Page 37 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 37 of 81




   PBC and agency staff meet prior to the case record reviews for an entrance conference,complete
   a tool that ranks the frequency and quality of services provided, complete the review with a
   description of findings and conduct an exit conference. For any area that is found deficient,
   MDCPS requires a corrective action plan within three months. During the monitoring period, one •
   agency, evaluated in. December 2018, was required to submit a corrective action plan regarding
   two non-safety issues. This plan was submitted by the contracted agency and accepted by the
   Department in March 2019.

   The 2nd MSA requires that prior to MDCPS contracting for case management services for children
   in custody, the Department must submit for the monitors' review and approval a detailed plan
   that ensures accountability, supervision and oversight of such agencies (1.7.b). MDCPS did not
   contract for case management of children in custody during the monitoring period.

   Foster Care Maintenance Payments
   Licensed Foster Families'Reimbursement Rates(1.8.a.)

  MDCPS is required to ensure that all licensed foster families (regardless of whether they are
  supervised directly by MDCPS or by private providers, and whether they are kinship or unrelated
  foster families) receive at least the minimum reimbursement rate for a given level of service as
  established pursuant to the 2nd MSA.The monitoring team reviewed reimbursements for the care
  of a randomly selected sample of 100 children in licensed regular foster homes and determined
  that all the homes were paid the proper reimbursement rate for the age of the children in their
  care in December 2018.

  Foster Care Maintenance Payments (1.8.b.)

  As of January 1, 2018, the effective date of the 2nd MSA, MDCPS agreed to pay to all licensed
  foster families at least the basic monthly foster care maintenance payments.Table 5 contains the
  current approved basic monthly rates for licensed foster homes. As mentioned above, the
  monitoring team reviewed a sample of 100 licensed regular foster homes and determined that
  all the homes were paid the proper reimbursement rate for the age of the children in their care
  in December 2018.

  MDCPS committed to provide increases in the foster care board rate in SFY2020 based on the
  previous year's rate of inflation, as required by the 2nd MSA.

  Analysis of Rates(1.8.c.)

   MDCPS was required to provide to the monitor within a year of court approval of the 2nd MSA
  (approved December 19, 2016)a written report setting forth (1)findings regarding the adequacy
  of a proposed schedule of foster care maintenance payments made to foster care providers

                                                36
Case 3:04-cv-00251-HSO-ASH                 Document 857-26            Filed 09/03/19         Page 38 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 38 of 81




  serving children, including children with specialized needs, and facilities providing congregate
  care in relation to the requirements of 42 U.S.C. § 675(4)(A) and the actual cost in the state of
  Mississippi to provide such care; and (2)the methodology utilized to determine the actual costs
  in the state of Mississippi to provide such care. Following review of the state's report,the monitor
  was required to establish the rates that MDCPS must implement. The monitoring team received
  the required reports timely on September 14, 2017 and reviewed and discussed the contents
  with MDCPS. The table below displays the current foster care maintenance rates approved by
  the monitor.

                          Table 5. Current Resource Board Payment Schedule

                                                                                                Daily Per
              Age/Status                   Board       Clothing    Allowance       Payment
                                                                                                  Diem
   0-8                                   $ 586.90          $ 80          $ 30       $ 696.60      $ 23.23
   9-15                                  $ 672.20          $ 80          $  50      $ 802.20      $  26.74
   16-21                                 $ 736.60          $ 80          $ 60       $ 876.60      $ 29.22
                                                                            **                    $ 30.62
   Special Needs I                       $ 838.60            80                     $ 918.60
                                                                            **
   Special Needs II                      $ 901.30          $ 80                     $ 981.30      $ 32.71
   Foster Teen Parent                  $ 1,323.50        $ 160           $ 90 $ 1,573.50          $ 52.45
   Emergency Shelters                  $ 4,412.10                             - $ 4,412.10       $ 147.07
                                                                            **
   Regular Group Homes                 $ 1,096.60          $ 80                  $ 1,176.60       $ 39.22
                                                                                                  (all ages)
                                                                            **
   Therapeutic Resource Homes          $ 2,823.10          $ 80                  $ 2,903.10       $ 96.77
                                                                            **
   Therapeutic Group Homes             $ 5,170.00          $ 80                  $  5,250.00     $ 175.00
                                                                            **
   Related Therapeutic Placement $ 1,293.70                $ 80                  $ 1,373.70       $ 45.79
     ** Personal Allowance is based on the age of the child and is included in the total board payment.



  2. Child Safety and Maltreatment in Care
  In the 2nd MSA, MDCPS committed to maintain a statewide system to appropriately receive,
  screen and investigate reports of child maltreatment. MDCPS must ensure its system is
  adequately staffed and that investigations of all reports are commenced as required by state law
  and conducted and completed pursuant to policy and regulation. The 2nd MSA states that the
  monitor shall periodically review the statewide system for appropriately receiving, screening and
  investigating reports of child maltreatment.




                                                      37
Case 3:04-cv-00251-HSO-ASH              Document 857-26           Filed 09/03/19        Page 39 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 39 of 81




   Screening Reports of Abuse and Neglect
   Responding to Reports of Abuse and Neglect(2.1)

   M ississippi Centralized Intake (MCI), established by MDCPS in 2009, is charged with receiving,
   prioritizing and dispatching reports of child maltreatment. Reports to MCI alleging child abuse,
   neglect, exploitation or risk are forwarded to local MDCPS offices for additional screening and
   investigation. If a report alleges maltreatment of a child in the state's custody, the information is
   required to be referred to the centralized Special Investigations Unit (SIU) for handling. MCI
   received 36,568 alleged abuse, neglect or exploitation (ANE) reports during 2018. Of the ANE
   reports received, 7,343 reports (20.1 percent) were screened out; 29,223 reports (79.9 percent)
   were assigned for investigation; and two reports remained in screening at the end of the period.

                             Table 6. ANE Reports by Intake Action, 2018

                        Action                 Q1        Q2       Q3        Q4       Year
             Assigned for Investigation       7,506     7,055    7,539     7,123    29,223
             Screened Out                     1,683     1,880    1,931     1,849     7,343
             In Screening                         0         0        1         1          2
                Total Referrals Received      9,189     8,935    9,471     8,973    36,568

   The monitoring team conducted a qualitative review of Mississippi's screening process in 2018.
  The review consisted of 100 randomly selected, screened-out abuse and neglect referrals
   involving children in MDCPS custody, all from 2018. The monitoring team determined that
   M DCPS made appropriate screening decisions in 91 of 100 instances. Nine of the referrals met
   criteria for maltreatment and should have been assigned for CPS investigation pursuant to
   M DCPS policy. In some instances, the screened-out referrals were forwarded to licensing or the
  ongoing worker as policy violations. In two instances, MDCPS had classified the reports as
  "duplicate" reports. To classify a report as a "duplicate" report, it must be determined that the
   new report involves the same alleged perpetrator(s), the same victim(s), the same types of
  maltreatment and the same incident as a prior referral. The two reports classified as "duplicate"
  by MDCPS did not meet these criteria.

  Examples of referrals the monitoring team concluded should have been investigated for child
  abuse and neglect include:

     • A referral was made by a nurse practitioner expressing concern that a child's foster family
         was not making sure she was taking her medications, including Benztropine Mesylate,
         Abilify and Vyvanse, regularly. The medications were stopped for unknown reasons.

     • A 13-year-old foster child alleged that two years ago, in a previous foster home, she was
       sexually assaulted by her foster mother's teenage son. The foster mother was home at

                                                  38
Case 3:04-cv-00251-HSO-ASH             Document 857-26           Filed 09/03/19       Page 40 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 40 of 81




        the time, but she was in the kitchen and the children were in a separate room.The child
        did not tell anyone about the assault at the time, but afterwards she disclosed the assault
        during a visit to the doctor. The child also reported that the foster mother would whoop
        her across the back with a wide extension cord and it made her bleed. MDCPS screened
        this referral out as a "duplicate report" stating that the allegations were disclosed by the
        foster child during an open investigation. However, that investigation referenced a
        different perpetrator and did not document that any of the allegations in this referral
         were investigated by MDCPS.

  Maltreatment-in-Care Screen-Out Reviews(2.3)

  MDCPS committed to develop and implement policies and procedures, subject to the review and
  approval of the monitor, for the Department to review all maltreatment in care (MIC) reports
  that were screened-out and assess the appropriateness within 24 hours of all screen-out
  determinations. If the decision to screen-out the report is determined to be inappropriate,
  MDCPS shall ensure the report is referred for investigation timely.

  Data provided by MDCPS indicate that 656 MIC reports were screened-out for investigation
  during 2018. MDCPS reported that the Department's Continuous Quality Improvement's (CQI)
 Safety Review Unit (SRU) conducted reviews of only 409 of the 656 screened-out MIC reports
 (62.3 percent)in 2018,though it is required to review all such screen-outs. SRU determined that
  only one report was inappropriately screened-out and returned it to MCI for investigation. The
  referral was not subsequently investigated by MDCPS.

  Standardized Decision-Making (2.8)

  The 2nd MSA requires MDCPS to assure that standardized decision-making criteria are used for
  prioritizing, screening, and assessing all reports of maltreatment of children in MDCPS custody.
  However, MDCPS has not yet implemented a system to ensure standardized decision-making.
  When MCI identifies that a foster child is the subject of the maltreatment referral, the unit is
  required to send it to the SIU. If the SIU supervisor decides to screen-out the referral, the
  supervisor is required to advise the Director of Field Support Programs who, upon approving the
  screen-out determination, must notify the SRU of the screen-out.The SIU's screen-outjudgments
  are routinely final. Of the hundreds of screen-outs the SRU reviewed in 2018, data and
  information from MDCPS indicates there was only one instance where a reversal was
  recommended by SRU, but as reported earlier, the case was never investigated, and it apparently
  remained a screen-out.

  In those instances where MCI is unaware that the child described in a referral is in foster care,
  the maltreatment referrals are sent to the 82 counties and the referrals are then subject to
  review by the Regional Director or his/her designee. The Regional Directors, and their designees,
                                                 39
Case 3:04-cv-00251-HSO-ASH              Document 857-26           Filed 09/03/19        Page 41 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 41 of 81




    have the unilateral power in their counties to change the disposition and screen-out the
   referral. There is no evidence to suggest those judgments, made by different county-based
   individuals across the state, are subject to rigorous scrutiny by State Office staff or further
   discussion with MCI staff to establish standardization. In almost every instance, the screen-out
   judgments of the county staff are final. This broad distribution of responsibility and prerogative
   to screen out referrals across the state into the counties, and designated down to proxies by
   certain Regional Directors, undermines standardized decision-making.

   Investigating Maltreatment in Care
   Special Investigations Unit and MIC Investigation Initiation Timeliness(2.2)

   Pursuant to the 2nd MSA, MDCPS is required to continue to maintain a special investigations unit
   whose responsibility is to investigate reports of maltreatment of children in custody. The
   initiation of that investigation shall not extend beyond 24 hours.

   MDCPS continued to maintain SIU, charged with investigating reports of maltreatment of
   children in custody throughout 2018. Data provided by MDCPS indicate that of the 527
   investigations conducted by SIU that were due for approval in 2018, 513 (97.3 percent) were
   initiated timely.

   MIC Worker Training (2.6)

   Pursuant to the 2nd MSA, all allegations of maltreatment of a child in custody are to be
   investigated by a worker who has received training on intake and investigations processes,
   policies, and investigation techniques and has no ongoing connection to the foster care case.

   MDCPS provided investigative training dates for all current SIU staff, who are responsible for
  conducting MIC investigations. However, both MDCPS and the monitoring team identified
   investigations of MIC that were not completed by SIU. SIU workers receive training on intake
   policy, investigations into maltreatment in care and facility investigations,in addition to the pre-
  service training that all workers receive. Ongoing foster care workers do not receive the same
  level of training. The monitoring team reviewed all 129 investigations with a custodial child victim
  that were conducted by non-SIU workers to determine if the investigator had an ongoing
  connection to the foster care case. The team identified four instances where an investigation of
  maltreatment of a child in custody was conducted by a worker with an ongoing connection to the
  foster care case of one of the alleged victims.

  MIC Investigation Completion Timeliness(2.8.a.)

  MDCPS committed that by July 1, 2018, at least 90 percent of MIC investigations will be initiated
  and completed within 30 days. Data provided by MDCPS indicate that of the 527 MIC

                                                  40
Case 3:04-cv-00251-HSO-ASH                Document 857-26          Filed 09/03/19       Page 42 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 42 of 81




  investigations due for completion in 2018, 518 (98.3 percent) were completed timely. The
  monitoring team's case record review of 82 MIC investigations confirmed that MDCPS met the
  performance standard for this commitment during 2018.

  Filing of MIC Investigations (2.8.c., 2.8.d.)

  Pursuant to the 2nd MSA, when a MIC investigation involves a foster or adoptive home, MDCPS
  must file a copy of the approved final investigation report, and any recommendations and/or
  corrective actions MDCPS has deemed necessary, in the case record of the foster child. The
  Department must also file a copy of the approved final investigation report, and any
  recommendations and/or corrective actions MDCPS has deemed necessary in the file of the
  foster or adoptive parents, along with a copy of the letter of notification to the foster or adoptive
  parents, and with the Bureau Director for Licensure. MDCPS must also provide those records to
  the Youth Court Judge with jurisdiction over the child and, upon request, to the monitor (2.8.c).

  Additionally, when a MIC investigation involves an agency group home, emergency shelter,
  private child placing agency foster home, or other facility licensed by MDCPS, a copy of the final
  investigative report must be filed in the child's case record, with the Director of Congregate Care
  Licensure, and sent to the licensed provider facility. MDCPS must also provide the report to the
  Youth Court Judge with jurisdiction over the child and, upon request, to the monitor (2.8.d).

  MDCPS did not provide information on its performance for these commitments in 2018.

  Worker Contacts with Custody Children after a MIC Substantiation (2.8.b.)

  The 2nd MSA requires that any foster child who remains in the same out-of-home placement
  following an investigation into a report that he or she was maltreated in that placement shall be
  visited in the placement by an MDCPS caseworker according to the following schedule:

      • Once per week for the first month and twice per month for three months if the
        investigation is found to be substantiated, or
      • Twice per month in accordance with MDCPS policy if the investigation is found to be
        unsubstantiated.

  The monitoring team was unable to validate the data MDCPS provided for this commitment.The
  monitoring team was unable to replicate MDCPS' calculations used to create the files and
  calculate performance. During this process, MDCPS determined that it was incorrectly counting
  the number of weekly and monthly visits due to what appeared to be a coding error that assigned
  visits to the subsequent week or month in which they occurred.
  During the fourth quarter of 2018, MDCPS reported there were nine foster children who
  remained in the same out-of-home placement following a substantiated report that he or she
                                                   41
Case 3:04-cv-00251-HSO-ASH             Document 857-26           Filed 09/03/19       Page 43 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 43 of 81




    was maltreated in that placement. The monitoring team conducted a qualitative review of case
    notes for these nine children to determine if they had been visited in the placement by an MDCPS
   caseworker according to the agreed upon schedule.The review indicated that for four of the nine.
   foster children who were reported to have been maltreated and remained in the same
   placement, the substantiations of maltreatment were for incidents that occurred prior to the
   child's placement in the foster home and were included in the data by MDCPS erroneously. The
   substantiated perpetrator was not the foster parent. For the five foster children where the
   investigation of maltreatment was found to be substantiated in the foster home where they
   remained,only one foster child received the required visits by a caseworker.
   For the five foster children reviewed, there were 23 visits required in the three-month period,
   based on the date of the substantiation. Sixteen of the 23 visits took place as required and seven
   visits did not.

   Licensure Investigations of Emergency Shelters and Group Homes(2.4)

   MDCPS committed to initiate a licensure investigation of contract agency group homes and
  emergency shelters within 30 calendar days following a substantiated report of child
   maltreatment. The licensure investigations are required to occur in addition to and independent
  of child protection investigations and must include an on-site inspection by MDCPS of the group
  home or emergency shelter to determine the contract provider's compliance with MDCPS
  licensure standards. A provider has 10 calendar days to submit a corrective action plan(CAP)with
  timeframes to rectify any identified violation of licensure standards and comply with the
  approved CAP timeframes. If the provider does not comply with the licensure standards based
  on the approved CAP and timeframes, MDCPS shall revoke the license.

  MDCPS reports there were two substantiated reports of child maltreatment in 2018 relevant to
  this commitment, one in a group home and one in a shelter. In one investigation, MDCPS found
  no licensure violations; therefore, no CAP was necessary. In the other investigation, a CAP was
  submitted and approved.

  The monitoring team reviewed the two licensure investigations and one CAP. In one
   investigation, there was an on-site inspection of the facility, but in the other review, the
   monitoring team was unable to determine whether such an inspection took place, as required.
  In that same investigation, MDCPS listed the date that licensure staff completed the investigation
  as being earlier than the date licensure staff even initiated the investigation. The CAP included
  timeframes and dates to rectify the violations, but the monitoring team was unable to determine
  whether the facility complied with the licensure standards based on the approved CAP and
  timeframes. Actions taken by the facility included the termination of multiple staff members,in-
  service trainings and policy updates.


                                                 42
Case 3:04-cv-00251-HSO-ASH              Document 857-26          Filed 09/03/19        Page 44 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 44 of 81




  Licensure Investigations by Child Placing Agencies(2.5)

  The 2nd MSA requires that upon receipt of a report of child maltreatment in a private child placing
  agency (CPA) foster home, MDCPS must notify the CPA, which shall within 30 calendar days
  initiate an independent licensure investigation, including an on-site inspection of the foster
  home, to determine the provider's compliance with licensure standards. If the foster home
  provider is found to be in violation of licensure standards, the provider shall have ten calendar
  days to submit a CAP with timeframes to rectify the violation and comply with the approved plan.
  MDCPS shall recommend that the foster home license be revoked if the provider does not comply
  based on the approved CAP and timeframes.

  MDCPS identified 21 reports of maltreatment involving CPA foster homes.The monitoring team
  reviewed the cases to assess whether an independent licensure investigation was initiated
  consistent with the 2nd MSA requirements.The monitoring team noted several issues during the
  review, including:

     • MDCPS' notification to the CPAs of a report of maltreatment in a CPA foster home was
       inconsistent, ranging from 0 to 143 days, with a median of 40 days, after the report of
       maltreatment was made to MCI.
     • CPAs did not always complete the required licensure investigation, opting instead, in
       some instances, to close the home or remove the child without completing the
       investigation as required.
     • On-site inspections were conducted, as required, in connection with just eight of the 15
       licensure investigations that were initiated.
     • Licensure violations were indicated in eight of the licensure investigations conducted, but
       only two CAPs were developed in connection with those eight investigations.

  MIC Investigation Reviews(2.7)

  Within 30 calendar days of the completion of any investigation of maltreatment of a child in
  custody, as required in Section 2.1, MDCPS must review the maltreatment investigation. This
  review will:

     • Identify any case practice deficiencies in the investigation and any remedial actions
       necessary to ensure the safety of the child who is the subject of the investigation, as well
       as any other children in the home or placement;
     • Identify a timeframe in which any recommended remedial action must take place; and

     • Monitor the initiation and completion of the remedial actions regarding individual child
       safety and case practice.
                                                  43
Case 3:04-cv-00251-HSO-ASH                     Document 857-26               Filed 09/03/19           Page 45 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 45 of 81




   When any remedial actions have not been initiated or completed timely, MDCPS must notify the
   supervisor, Regional Director and Director of Field Operations.

   Reviews of MIC investigations are completed by the MDCPS Safety Review Unit fSRU). MDCPS •
   sent monthly spreadsheets to the monitor detailing the investigations that the SRU reviewed.
   The monitoring team determined that there should have been 493 investigations reviewed by
   the SRU during 2018, however SRU conducted reviews of only 325 (65.9 percent)
                                                                                      of the
   investigations.14

   The monitoring team reviewed SRU reports for the 82 MIC investigations from the first quarter
   of 2018,evaluated under commitment 2.1. SRU identified case practice deficiencies in 14 reports.
   These include the alleged victim children not being seen within 24 hours of intake, safety/risk
   assessments not being completed timely and CAPs not being documented in instances where one
   was recommended by the investigator. Specific remedial actions and timeframes to address
   these deficiencies were not identified in the SRU reports.

   Investigating Reports ofAbuse and Neglect(2.1)

   The monitoring team conducted a qualitative review of all MIC investigations where the alleged
  perpetrator was a non-relative foster parent, relative foster parent or residential facility staff
  member, completed by SIU during the first quarter of 2018. This included 82 investigations
  involving 153 children. Nine of the 82 investigations, involving 19 children, were substantiated
  for abuse and/or neglect. The monitoring team's review involved reading Investigation Reports
  supplemented with information from MACWIS.

  The monitoring team found that SIU workers consistently contacted and interviewed alleged
  victims within 24 hours of the report date and time. The alleged perpetrator and collateral
  contacts were typically interviewed during the course of the investigation. However, in five
  instances, MDCPS rendered a finding before forensic interview or drug testing results requested
  by MDCPS were received. The entire investigation was completed and approved within 30
  calendar days of the initial intake report date and time in 80 of the 82 investigations. It appears
  that some investigations require additional time to complete a thorough assessment of the
  information gathered before making a finding, but an extension was not requested. The
  monitoring team also found instances where homes with prior child abuse or neglect
  substantiations were closed and then re-opened.




 "MDCPS reported that prior to November 8, 2018, the tracking report sent to SRU excluded intakes that did
                                                                                                                 not
 have an incident date. As a result, SRU did not review at least 161 investigations that the unit was required
                                                                                                               to
 assess. MDCPS reports it has implemented a correction so that referrals without incident dates are sent to SRU
                                                                                                                   for
 review.

                                                          44
Case 3:04-cv-00251-HSO-ASH                   Document 857-26               Filed 09/03/19           Page 46 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 46 of 81




  The monitoring team concluded the evidence supported MDCPS' findings in 58 of 82
  investigations(70.7 percent). The monitoring team concluded in 14 investigations(17.1 percent)
  more information was needed in order to draw a proper conclusion. There were ten
  investigations(12.2 percent) where some or all the allegations were found to be unsubstantiated
  by MDCPS, but the monitoring team concluded that information presented during the course of
  the investigation was sufficient to substantiate.15 A few examples include:

     • MDCPS unsubstantiated allegations of abuse and neglect after a foster child reported the
       foster mother had slapped her in the face and pulled her hair. The foster mother made
       multiple assertions to the investigator that the alleged victim foster child had "put a spell
       on her without using words," and that the child was "evil," a "devil worshipper" and was
       "trying to kill her." The foster mother also admitted to pulling the child's hair, hitting her
       and "cussing" at her. She stated that she was going to "mail the worms in [her] body" to
       the foster child. Despite such statements from the foster mother, MDCPS left the alleged
       victim's two younger brothers in the placement and noted no concerns for the children
       in the home. Further, during the investigation, it became apparent that the foster mother
        was not ensuring that one of the foster children in the home was taking a prescribed
        medication. Five months later, the foster mother allegedly choked another foster child in
       the home,leaving him with a scratch on his neck and bruise on his shoulder. MDCPS found
       the allegation of physical abuse to be substantiated and the home was subsequently
        closed to new placements. The first investigation should have been substantiated, and
        the home should have been closed earlier.
     • MDCPS unsubstantiated allegations of child maltreatment after a five-year-old child
       disclosed that his previous foster mother had put socks in his throat when he was crying
       and made him squat against the wall as punishment. He alleged that sometimes he was
       made to do the "wall sits" while in his underwear or naked, and that on at least one
       occasion, he was made to squat against the wall in a closet. The foster mother admitted
       to making him squat against the wall but denied ever putting a sock in his throat. The
       alleged child victim had been removed from the home prior to the investigation at the
       request ofthe foster mother, but two other foster children were left in the home.The SIU
       worker noted in her investigative findings that one of the foster children left in the
       placement was a similar age to the alleged victim child and that she "may be at risk for
       similar treatment now that [the alleged victim] is no longer there." The licensing worker
       met with the foster parents and recommended that a CAP be completed; the home
           remained open.

  ss This includes one investigation where the allegations were found to be substantiated for two foster children but
  unsubstantiated for another two foster children and one adoptive child in the same home.The monitoring team
  determined maltreatment should have been substantiated for all five children.

                                                          45
Case 3:04-cv-00251-HSO-ASH                     Document 857-26             Filed 09/03/19          Page 47 of 81
       Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 47 of 81




         • Allegations of physical neglect were unsubstantiated after a 16-year-old foster child was
           arrested for breaking into cars and stealing handguns while the foster mother worked the
           night shift. The foster child allegedly brought the stolen guns and marijuana into the..
           foster home,around the other youth in the home.There was photo evidence ofthe foster
           children having access to the guns and marijuana. The foster mother had allowed her 18-
           year-old son to watch the three foster children (ages 16,14 and 14)during this time. Prior
           to this incident, there were supervision concerns regarding the foster mother that
           resulted in a corrective action plan. A police officer stated to the investigating worker that
           there is "no way these boys were being properly supervised." The foster home was
           subsequently closed, and the children were removed based on a lack of supervision, the
           exposure of the foster child to drugs and guns and admission by the arrested youth that
           he was sneaking out of the home on a recurring basis.

          MDCPS utilizes third-party, contracted agencies to license therapeutic foster homes.16 There
         were multiple unsubstantiated investigations that involved these contracted therapeutic
         foster homes. Examples include:

         • In one case where the monitoring team concluded that more information was needed,
           there were allegations of insufficient food in the home and that the foster mother was
           waking the children up at 2:00 or 3:00 AM to complete chores. Similar allegations were
           made against the same foster mother in 2012 by another foster child. It is unclear if the
           Sill worker noticed this connection before finding the case to be unsubstantiated. The
           investigation was also completed prior to receiving the results of the forensic interviews
           MDCPS requested during the investigation. A CAP was completed at the recommendation
           of the licensing agency, the children were removed, and the home remains open.

        • In another case,the foster mother allegedly made a 10-year-old child iron his own clothes,
          even after he had burned himself on one occasion. The foster mother also admitted to
          referring to "time out" as "jail," and stated that she would put the children in "jail" for 60
          to 90 minutes at a time. The principal of the 10-year-old's school referred to the foster
          mother as being "not very nurturing." The foster child's younger sister, age 7, also alleged
          while being interviewed that she had fallen and injured her chin on concrete recently and
          that it hurt so bad that she did not eat, yet the foster mother allegedly did not take her
          to the doctor. The therapeutic foster care agency reportedly planned to provide extra
          support to the foster parent. MDCPS recommended no further intervention.
        • In another therapeutic foster home case, an eight-year-old in the home stated that every
          time he gets in trouble, he gets a "whipping" and that he is afraid of the foster father. A

' A therapeutic foster home is a resource home licensed and certified to care for children with severe behavioral,
emotional and psychological impairment. MDCPS Section D:Foster Care Policy, Section V.G.3.

                                                          46
Case 3:04-cv-00251-HSO-ASH              Document 857-26          Filed 09/03/19       Page 48 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 48 of 81




         two-year-old in the home slept in the foster parent's bed since he was days old, and the
         foster father refused to allow anyone to see his bedroom.The foster father also allegedly
         kissed an 18-year-old foster child in the home on her chest and neck for doing a good job
         raking leaves. MDCPS found the allegations to be unsubstantiated. The children were
         removed,and the home was closed.

  Maltreatment of Children in Care(2.9)

  Pursuant to the 2nd MSA, MDCPS agreed that the rate of child abuse and neglect among children
  in foster care shall not exceed 0.33 percent per year. A child is counted as having been maltreated
  in foster care if the perpetrator of the maltreatment was identified as a foster parent or a
  residential facility staff member.This was a federal outcome standard (based on the federal Child
  and Family Services Review, Round Two)focused on keeping children in foster care safe from
  abuse and neglect by their caregivers.

  Data provided by MDCPS and verified by the monitoring team indicate that 95 children (1.15
  percent) in MDCPS'custody were victims of abuse or neglect by their caregivers. MDCPS should
  have protected at least 68 more children from abuse or neglect in their placements in 2018 in
  order to meet the agreed upon safety standard. Examples of substantiated abuse and neglect
  during 2018 include:

      • A six-year-old foster child placed in a licensed relative home was alleged to have marks
        and bruises all over her body.The investigation confirmed that the child was beaten and
        whipped by her foster mother with a belt, causing significant bruising all over her body.
        In addition, the child, who was diagnosed with sickle cell, had not been given her
        medication. The foster mother possessed only an expired medication for the child that
        was unopened. Physical neglect and physical abuse were substantiated, the child was
          removed,and the home was closed.

      • A nine-year-old in residential care had bruising on his chest and two scratches. He stated
        that a staff member had punched him in his chest, and another had grabbed him by his
        shirt and scratched him. Physical abuse was substantiated for the staff person who
        grabbed the child; she was previously substantiated — twice — for harming children in
        residential care.The child remained placed at the facility and MDCPS recommended that
        the staff person no longer have contact with children in CPS custody as this was the
          employee's third substantiated report.
      • A grandmother, recently granted custody of her three-year-old granddaughter, allowed
        her to spend a few days with her previous foster parents. When she returned from the
        visit, she was red in the vaginal area, and didn't want to be washed between her legs.
        When the grandmother spoke with the foster mother about this, she said it was eczema

                                                  47
Case 3:04-cv-00251-HSO-ASH              Document 857-26          Filed 09/03/19       Page 49 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 49 of 81




          and to just put cream on it. However, when the grandmother tried to apply the cream,
          the child would scream. When interviewed, the child gestured to indicate the foster
          father who she called "daddy" had touched her in her vaginal area. Sexual abuse by her .
          former foster father was substantiated and the home was closed.
      • A five-year-old was coming to school for weeks in the same dirty clothes and smelling of
         urine. He was also hungry and stole food from the teacher's desk. He had scratches on
        his face and a wound with scabs on the back of his neck. When interviewed, he said that
        he cried when the other children tell him that he stinks. He said he got the scratches from
        rough housing with his eight-year-old brother, and the foster father did not put anything
        on the neck wound to help it to heal. He said he did not brush his teeth because he did
        not have a brush or paste. The foster father left his 16-year-old daughter to care for the
        foster children when he worked 12-hour shifts, and sometimes overnight. Physical
        neglect by the foster father was substantiated,the children were removed,and the home
        was closed.
      • A nine-year-old child with developmental disabilities that caused him to have encopresis
        and enuresis was residing in a therapeutic foster home. He told his counselor that he was
        "whooped" by his foster mother with a belt. The older brother, age 11, could hear his
        brother being hit. There were bruises with a belt buckle pattern on his thighs, according
        to an examining physician. The foster mother admitted to hitting him for "peeing and
        pooping," but stated that she only used her hand, not a belt. Physical abuse was
        substantiated,the child was removed, and the home was closed.


  3. Family-Based Placements
  Foster Home Licensure (3.1)

  In order to ensure that children who are removed from their families due to abuse and neglect
  are placed in the most appropriate and least restrictive setting, MDCPS agreed to develop a safe
  array of family-based placement resources. The 2nd MSA requires MDCPS to both recruit and
  license a target number of non-relative foster families and to ensure that when MDCPS places
  children with relatives, those homes are timely licensed. MDCPS agreed to utilize the licensure
  process approved by the monitor when assessing prospective relative and non-relative homes.

  The licensure process requires MDCPS to: provide pre-service training for applicants; conduct
  home visits with the prospective applicants and family members; assess the physical and mental
  health of applicants; conduct home environment safety checks; obtain references regarding the
  applicants and complete full background checks that include state and federal fingerprints for all
  adults in the home. MDCPS is also required to complete a foster home study that synthesizes

                                                 48
Case 3:04-cv-00251-HSO-ASH             Document 857-26          Filed 09/03/19       Page 50 of 81
    Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 50 of 81




  information obtained during the home study process and documents the agency's licensure
  decision. The monitoring team reviewed a randomly selected sample of 20 non-relative foster
  homes licensed during the monitoring period and found that MDCPS licensed non-relative homes
  consistent with both the requirements of the approved licensure process and agency licensure
  standards.

  MDCPS agreed to license non-relative homes within 120 days of the prospective foster parent's
  inquiry regarding foster parenting. For 2018, MDCPS was unable to submit accurate data
  regarding the timeliness of the licensure process for non-relative foster homes due to
  inconsistent practice during the period that impacted how timeliness was calculated. In addition,
  staff inconsistently entered into MACWIS the date of the prospective foster parent's inquiry,
  making it impossible to validate timeliness in many instances. MDCPS reports it is working to
  correct these issues.

  Consistent with the requirements of the 2nd MSA, MDCPS developed an annual plan to recruit
  and retain additional licensed foster home placements for calendar year 2018. The monitoring
  team reviewed the plans utilized by the Department to assist in meeting the statewide 2018
  targets and found them to be appropriate for this purpose.

  When a child in the custody of MDCPS needs an out-of-home placement, potential relatives are
  always considered as the first placement resource. MDCPS policy states that "first priority for
  placement shall be given to a relative when it is suitable and appropriate to do so" and the
  Department committed to license all unlicensed relative homes with limited exceptions, as
  described below.

  The assessment of a relative's home for potential placement begins when the child's caseworker
  initiates MDCPS' emergency placement process that includes a pre-placement safety
  assessment. The child's worker is responsible for walking through the entire home, both inside
  and outside, to ensure that safety issues do not exist or when safety issues are identified, they
  are remediated prior to a child's placement. MDCPS must also complete and assess the results
  of criminal, law enforcement and child abuse registry background checks prior to approving the
  placement. After the initial safety process is completed and supervisory staff approve the child's
  placement, casework staff must make a referral to the regional licensure unit for continuation of
  the 90-day licensure process.

  MDCPS data shows that 1,318 child placements were made during the monitoring period into
  798 unique unlicensed relative homes. The outcomes for licensure of the 798 homes are as
  follows.




                                                 49
Case 3:04-cv-00251-HSO-ASH                             Document 857-26                        Filed 09/03/19          Page 51 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 51 of 81




                                       Table 7. Licensure Status of Homes,2018
                           ' ,r.“44k te":"4-'.''A ..".'- I   `'`,   n.•   ';i                       ‘..
                                                                                                     ( 6.
                                                                                                        04P% KT r?;
                                      ISg(lAtge5tOti4                     •'4,;   Homes;,_:
                                                                                  .          'A,  4i TC.c.11-VrAl.
                                                                                                       T
                             Licensed                                              49317              62%
                             Unlicensed                                             305               38%
                                      Total -                                       - • ..I.,' -,

   The monitoring team conducted three separate quality reviews of 106 expedited pending relative
   placements made during 2018. The monitoring team was able to confirm that MDCPS
   implemented the licensure process approved by the monitor for relative homes. However,during
   the reviews, the monitoring team identified lapses by MDCPS in carrying out the initial pre-
   placement safety assessment process conducted by the child's caseworker. Specifically, the
   monitoring team found:

       • Of the 106 cases reviewed, documentation of the initial home walk-through was missing
         for three placements and indicated the walk-through was completed late for 21
         placements.

      • Home study files lacked documentation of some criminal and central registry background
        checks for adults in 21 homes.

      • Inappropriate sleeping arrangements were found in nine homes including: a foster child
        sleeping in the same bed as the foster parent; a young child sleeping in an unapproved
        crib; a child sleeping on an air mattress in the living room and a child sleeping on a couch
        due to a lack of space in the home. In most cases, there was documentation that these
        issues were resolved at some point during the licensing process.

      • The review also surfaced various other safety issues, including relative homes without
        carbon monoxide detectors, homes with exposed wiring and homes in very poor repair.

  MDCPS acknowledged that during the monitoring period, as the new relative home study process
  was implemented, caseworkers and supervisors were still working to hone their skills in order to
  fully implement the pre-placement safety process. MDCPS has plans for additional training to
  ensure that staff consistently comply with and document pre-placement relative home safety
  requirements. However, for this period MDCPS acknowledged lapses existed in both
  documentation and timely completion of required initial safety checks as well as timely referrals
  to licensure staff for the initiation of the relative home study process.




  17 Of the 493 licensed homes,459(93 percent) were licensed within 90 days of placement.

                                                                          50
Case 3:04-cv-00251-HSO-ASH                    Document 857-26             Filed 09/03/19          Page 52 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 52 of 81




  Unlicensed Relative Homes(3.2.a.)

  MDCPS committed that no child will remain in a foster home or facility determined to be unable
  to meet licensure standards absent an order by a state court with jurisdiction over the child's
  custody directing the placement of the child into a specific unlicensed placement. MDCPS is not
  held accountable for a state court's order as long as MDCPS documents that it presented
  information to the court that the foster home has not met licensing standards, the reasons why
  the foster home has not and cannot meet licensing standards, and an explanation that a licensed
  foster home or facility is available, or one time only, to an appropriate expedited relative
  placement.

  MDCPS data shows that during the monitoring period 453 children were placed in court-ordered
  unlicensed homes and facilities. One hundred fifty of those were placements of children in
  unlicensed shelters.18 Three hundred three children were placed in court-ordered unlicensed
  family-based placements during the period. MDCPS produced to the monitoring team court
  orders for 49 children in expedited pending relative placements that were made during the
  period but did not produce court orders for the remainder of the court-ordered unlicensed
  placements.

  Further, during the monitoring period MDCPS acknowledged it had not yet implemented
  consistent protocols to document information MDCPS provided to the court as it agreed to do in
  the 2nd MSA.Specifically, MDCPS did not produce evidence that it consistently advised the court
  whether or not it would be safe for a child to remain in the relative home when it could not be
  licensed, the reasons why the home could not be licensed and an explanation that a licensed
  placement was available.

  Safety and Non-Safety Issues (3.2.b., 3.2.c.)

  When MDCPS determines that an unlicensed foster home or facility is unable to meet MDCPS
  licensing standards due to a safety issue, MDCPS must take all reasonable efforts to immediately
  ensure the child's safety, including, when necessary, seeking an emergency court order to
  remove a child. If the child is not in imminent danger, MDCPS must implement a safety plan and
  within five calendar days, either cure the licensing deficiency if feasible, or move the child to a
  licensed foster home or facility, or to an appropriate expedited relative placement, one time only.

  When MDCPS determines an unlicensed foster home cannot meet licensing standards due to a
  non-safety issue, the Department must, within 30 calendar days of that determination, either



  18 One hundred forty-four of the 150 shelter placements were ordered by the Harrison County Court as an
  alternative to initial non-relative foster home placement.

                                                          51
Case 3:04-cv-00251-HSO-ASH                    Document 857-26               Filed 09/03/19           Page 53 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 53 of 81




   cure the licensing deficiency if feasible, or move the child to a licensed foster home or facility, or
   to an appropriate expedited relative placement, one time only.

   MDCPS designated the Department's Continuous Quality Improvement Evaluation and
   Monitoring Unit(EMU.) as the responsible entity to track and monitor its performance regarding
   the 2nd MSA's unlicensed relative home commitments." Each week MDCPS' Data Reporting Unit
   provided a report to the EMU, which showed children who were placed in unlicensed relative
   homes. New unlicensed relative homes were assigned to EMU staff who were responsible to:
   review MACWIS to determine the unlicensed relative's home status; communicate with licensure
   staff regarding the timelines of the licensure process;follow up with licensure staff regarding any
   identified safety or non-safety related issue and monitor efforts to ensure timely and appropriate
   action is taken by licensure and field staff to address those issues. EMU staff utilized the
   Footprints tracking system to monitor the family's progress to licensure until a determination
   was made.

   MDCPS submitted to the monitoring team beginning in April 2018 two types of reports monthly:
   A Safety Issues Report and a Non-Safety Issues Report, both regarding expedited pending relative
   homes. During the course of tracking the licensure process on an expedited pending relative
   resource placement, the EMU notates in a Footprints tracking system ticket if there is a safety
  issue or a non-safety issue that is preventing or may prevent the home from being licensed. The
  Safety Issues Report submitted to the monitoring team had no more than six entries per month.
  The Non-Safety Issues Report had no more than three entries per month. For instance, both June
  2018 reports included six resource homes with safety issues and two with a non-safety issue.
  Identified safety issues included a hole in the floor of a child's bedroom, children having
  inappropriate bedding, and a home not having a fire extinguisher or carbon monoxide detector.
  Both items on the Non-Safety Issues report were duplicate entries, one from a year earlier, June
  2017, and the other from the previous month's report that had been previously documented as
  resolved.The December 2018 report included only two relative homes with safety issues and one
  with a non-safety issue. MDCPS reported issues that included the lack of a fire extinguisher,
  inappropriate sleeping arrangements, and beer cans on the ground outside of a home.

  The Safety Issues and Non-Safety Issues Reports do not include dates when MDCPS resolved each
  issue, which prevents the monitoring team from verifying that the licensing deficiencies were
  resolved within five days or 30 days as required by the 2nd MSA.




  19 In late 2018 MDCPS modified the tracking process by designating licensure staff responsible to ensure safety and
  non-safety issues are addressed.


                                                          52
Case 3:04-cv-00251-HSO-ASH             Document 857-26          Filed 09/03/19      Page 54 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 54 of 81




  Foster Home Development(3.3)

  The 2nd MSA provides that MDCPS, in conjunction with the monitor, shall establish annual
  statewide and county performance requirements and time periods for new foster home licensure
  (3.3.a). In order for the first annual performance targets to be set for calendar year 2018, the
   monitoring team recommended that MDCPS conduct a foster home needs assessment to identify
  the number of available licensed foster homes and determine the number of licensed foster
   homes needed.The assessment was designed to inform MDCPS'efforts to build the capacity over
   time to make safe and appropriate placement matches,and ensure children are placed with their
   siblings in close proximity to their family and community. Utilizing segments of MDCPS'
   assessment analysis, as well as child custody data,caseload data,licensure data,and foster home
   development and closure data, the monitor established the 2018 new foster home licensure
  target at 400 homes.The time periods for new home licensure were set at:

     • 150 new foster homes licensed by June 30, 2018

     • 300 new foster homes licensed by September 30, 2018

     • 400 new foster homes licensed by December 31, 2018

   During the monitoring period, MDCPS provided to the monitoring team monthly new foster
   home licensure data. Through ongoing data verification and a sample review of new foster home
   records,the monitoring team confirmed that MDCPS licensed 431 new foster homes during 2018,
   exceeding the target of 400 new homes. MDCPS exceeded the interim target of 150 new homes
   developed by June 30, 2018 and slightly missed the September 30, 2018 interim target of 300
   new homes.

                         Table 8. Non-relative Foster Homes Licensed, 2018

                    Date        ,:GOO.111OrigeWVIIreIated: TOtglitt.0 keikt Unrelated
                                      Fifiaeit Homes        to r'Homes'               •
             June 30,2018                   150                        173
             September 30, 2018             300                        285
             December 31, 2018              400                        431

   In order to expand the pool offoster homes available for placement, MDCPS committed to recruit
   and retain additional licensed foster home placements and maintain the additional number of
   total placements, as necessary during the applicability of the 2nd MSA (3.3.b). Taking into
   consideration the new home target and historical foster home closure data,the monitoring team
   established a net gain target of 275 additional foster homes for 2018.

   MDCPS licensed 431 new homes and the monitoring team verified that 271 homes closed during
   the monitoring period, resulting in a net gain of 160 foster homes. While MDCPS expanded its

                                                  53
Case 3:04-cv-00251-HSO-ASH                   Document 857-26              Filed 09/03/19          Page 55 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 55 of 81




   pool of foster homes in 2018,the Department did not meet the net gain target of 275 additional
   foster homes.


   4. Placement Standards
   Foster Home Licensure Limits(4.1, 4.13)

   MDCPS agreed that no foster home shall provide care for more than five children (including
   foster, birth, and adoptive children) at any given time, in accordance with the following:

       • Foster homes may provide care for more than three foster children, up to a total of five,
         only with the documented approval of MDCPS Office of Licensure determining that the
         foster children can be safely maintained in the foster home.

       • No more than two children in the foster home may be under the age of two or have
         therapeutic needs, including the biological and/or adoptive children.

       • Notwithstanding the above, a sibling group may be placed together in the same foster
         home in excess of these limits, but only if they are the only children in the home, and
         only upqn written approval by the MDCPS Licensure Director determining that the foster
         children can be safely maintained in the home.

  The parties agreed that by July 1, 2018, MDCPS would meet an interim performance standard of
  70 percentfor this commitment. Data provided by MDCPS indicate that as of December 31, 2018,
  there were 2,056 foster homes in Mississippi with at least.one child in placement. Of these 2,056
  homes, 1,921 (93.4 percent) met the terms of this commitment. Eighteen homes (0.9 percent)
  did not meet the requirements of the commitment, and MDCPS was unable to report on 117
  homes2°(5.7 percent).

  Children with Special Needs Placed with Resources Meeting Those Needs (4.2, 4.14)

  The 2nd MSA states that children with special needs shall be matched with placement resources
  that can meet their therapeutic and medical needs. MDCPS is to ensure that each county office
  has access to resource workers within its region who have the ability to ascertain the placement
  resources available and their suitability for each child who needs placement.

  Mississippi Code 43-27-101(f) defines a special needs child as:

          "A child with a variety of handicapping conditions or disabilities, including
          emotional or severely emotional disorders. These conditions or disabilities

  20 MDCPS was unable to report on resource homes identified as an umbrella agency or a subordinate resource to
  an umbrella agency.

                                                        54
    Case 3:04-cv-00251-HSO-ASH                   Document 857-26              Filed 09/03/19           Page 56 of 81
            Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 56 of 81




1
               present the need for special medical attention, supervision and therapy on a
               regimented basis."

      Children with special needs qualify for increased board rates, divided into the levels Special
      Needs I, Special Needs II and Therapeutic, depending on the severity of the child's needs.

                                         Table 9. Special Needs Board Rates
                       .                                   -- -i:                        _
                                                           .                                         Current
              i ii                                     i    p 0
                                                                                                 ‘- i 111Rate,
                        A foster child qualifies for the Special Needs I board payment
            Special                                                                                $838.60
                        rate if the child has a mental health or medical diagnosis and
            Needs I
                        applied for SSI and the application is pending or has been denied.
                        A foster child qualifies for the Special Needs II board payment
            Special                                                                                $901.30
                        rate if the child receives SSI. A copy of the SSI letter that states
            Needs II
                        the child is approved must be submitted to Eligibility.
                        A foster child qualifies for a Therapeutic board payment rate if
            Therapeutic                                                                            $1,293.70-
                                                                                                   $5,170.0021
                        the child has a DSM-IV Axis I diagnosis.

      MDCPS reported that at the end of 2018,there were caregivers for 27 children receiving Special
      Needs I board payments, caregivers for 69 children receiving Special Needs II board payments,
      and caregivers for 308 children receiving Therapeutic board payments. Children are matched
      with placements that meet their needs through the Therapeutic Placement Unit, which reviews
      referrals for children requiring therapeutic placement and matches them to providers with the
      specific service(s) being requested.The parties agreed that by July 1, 2018,60 percent of children
      with special needs would be matched with placement resources that can meet their therapeutic
      and medical needs. MDCPS did not provide data or an analysis of performance for this
      commitment for 2018.

      Children Placed in Least Restrictive Setting (4.3, 4.15)

      In the 2nd MSA, MDCPS committed that each foster child shall be placed in the least restrictive
      setting that meets his/her individual needs as determined by a review of all intake, screening,
      assessment and prior placement information available at the time of placement. In order of
      consideration this means: placement with relatives; foster home care within reasonable
      proximity to the child's home community; foster home care outside of the child's home
      community; group home care or institutional care. The parties agreed to a 95 percent
       performance standard for this commitment.




       21Rate varies depending on whether the placement setting is a related therapeutic placement, a therapeutic
       resource home or a therapeutic group home.
                                                             55
Case 3:04-cv-00251-HSO-ASH             Document 857-26           Filed 09/03/19       Page 57 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 57 of 81




   MDCPS reported that as of December 31, 2018, 4,309 of the 4,811 children in custody were
   placed in family-based settings, the least restrictive placement type. The monitoring team
   reviewed all the data submitted by MDCPS in support of its performance and undertook,
   validation of a randomly selected sample of case notes and residential services applications for
   25 children placed in congregate care programs which are more restrictive placement settings.
   The monitoring team determined those placements were made appropriately in order to meet
   the individual child's identified needs.

   Children Placed Within Proximity to Home (4.4, 4.18)

   MDCPS is required to ensure that each child who enters placement (from regions other than II-
   East, II-West,and V-West)shall be placed within his/her own county or within 50 miles from the
   home from which he/she was removed, unless:

      • The child's needs are so exceptional that they cannot be met by a family or facility within
        his/her own county or within 50 miles of the home from which he/she was removed;

      • The child is placed through the Interstate Compact on the Placement of Children (ICPC)
        consistent with its terms;

     • The child is appropriately placed with relatives;

     • The child, age 14 years or older, is pursuing educational or vocational opportunities;

     • The child is ordered to be placed in a child-specific foster care setting by a court; or

     • The child is placed in an adoptive home.

  The parties agreed to a 90 percent performance standard for this commitment. Data provided by
  MDCPS indicate that, excluding children removed from regions II-E, II-W and V-W, there were
  9,888 placements made in 2018. Of these, 9,647 (97.6 percent) met the proximity terms of the
  2nd MSA.This includes placements made within 50 milesfrom the child's home of removal(8,056)
  and placements that exceeded 50 miles but had an approved exception consistent with the
  commitment(1,591).

  Children Placed Within Proximity to Home (4.5, 4.19)

  For children who enter placement from Regions II-East, II-West, and V-West, MDCPS committed
  that no less than 90 percent will be placed within his/her own county or within 75 miles of the
  home from which he/she was removed. The same exceptions apply, as in Sections 4.4 and 4.18
  above,except for the radius distance.

  MDCPS is not currently tracking whether placements for children from regions II-E, II-W and V-W
  are within 75 miles of the home of removal, instead reporting on whether the placements are

                                                 56
Case 3:04-cv-00251-HSO-ASH               Document 857-26         Filed 09/03/19       Page 58 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 58 of 81




  within 50 miles or have a valid exception. Data provided by MDCPS indicate that there were 1,690
  placements of children from regions II-E, II-W and V-W in 2018. Of these, 1,588 (94.0 percent)
  were placed within 50 miles of the home of removal (1,112) or had an approved exception
  consistent with the terms of the commitment(476).

  The 2nd MSA also calls for the monitor to evaluate this commitment in December 2018 to
  determine whether the 75-mile exception for these three regions is still necessary. Given that
  MDCPS does not currently track whether placements are within 75 miles from the home of
  removal and the Department is exceeding the standard while evaluating these three regions
  against the 50-mile rule, the monitor determines that the 75-mile exception for regions II-E, II-W
  and V-W is not necessary.

  Placing Siblings Together(4.6, 4.16)

  The 2nd MSA requires MDCPS to place siblings together when they enter placement at or near
  the same time. Exceptions can be made if placing the siblings together would be harmful to one
  or more of the siblings, one of the siblings has exceptional needs that can only be met in a
  specialized program or facility or the size of the sibling group makes such placement impractical
  notwithstanding diligent efforts to place the group together. If a sibling group is separated at
  initial placement,the caseworker shall make immediate efforts to locate or recruit a foster family
  in whose home the siblings can be reunited. These efforts must be documented and maintained
  in the case file. The parties agreed that by July 1, 2018, MDCPS would meet an interim
  performance standard of 60 percent for this commitment.

  The monitoring team is unable to validate the data MDCPS produced for this commitment. During
  validation, the monitoring team was unable to replicate the detail files MDCPS produced and
  observed many instances in which MDCPS identified siblings placed together despite the siblings'
  placement histories showing they were never in the same placement. The monitoring team
  requested feedback from MDCPS regarding the method used to identify sibling groups but
  MDCPS was unable to interpret its code (written by a former MDCPS employee) used to identify
  sibling groups and calculate performance for this commitment.

  Placement Disruptions (4.7, 4.17)

  MDCPS committed to take all reasonable steps to avoid the disruption of an appropriate
  placement and ensure placement stability for children. If there is a documented indication that
  a placement may disrupt, the caseworker shall immediately take steps to determine the
  following:

     • The cause of the potential disruption;
     • Whether the placement is appropriate for the child;
                                                 57
Case 3:04-cv-00251-HSO-ASH                   Document 857-26              Filed 09/03/19           Page 59 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 59 of 81




       • Whether additional services are necessary to support the placement;

       • Whether the child needs another placement; and

       • If another placement is necessary, what that placement should be.

   These efforts are to be documented in the child's case record. The parties agreed that by July 1,
   2018, MDCPS would meet an interim performance standard of 60 percent for this commitment.

   MDCPS did not provide a report identifying those children who were moved as a result of a
   disrupted placement including the cause of the disruption.

   Overnight Stays in an Office or Other Nonresidential Facility(4.8)

   The 2nd MSA requires that no child shall remain overnight in an MDCPS office or other
   nonresidential facility that provides intake functions. MDCPS reported that this did not occur
   d uring calendar year 2018. The monitoring team reviewed thousands of case records in
   preparation of this report and did not learn of any instance of this occurring in 2018.

   Young Children Placed in Congregate Care Facilities(4.9)

   MDCPS committed that no child under 10 years of age shall be placed in a congregate care
   setting, including group homes and shelters. Exceptions can be made if:

       • the child has exceptional needs that cannot be met in a licensed foster home;

       • in order to keep a sibling group together for a temporary period, not to exceed 15 days,
         and the Regional Director has granted documented approval for the congregate care
         placement;

       • or to enable a mother and baby to be placed together and there is not an available foster
         home for both of them.

   MDCPS reported there were 155 children under the age of ten placed in congregate care settings
   during 2018. The Department was unable to track and report how many of the 82 children who
   were placed between January 1, 2018 and July 16, 2018 had an allowable exception approved.
   Of the 73 children who were placed between July 17, 2018 and December 31, 2018, MDCPS
   reported that 54(74.0 percent) had an allowable exception approved.22




  ii MDCPS implemented corrective action to fix the error in the database which lost required data on Regional
   Director approvals, allowing the Department to report on performance for July 17, 2018 to December 31, 2018.

                                                         58
Case 3:04-cv-00251-HSO-ASH            Document 857-26          Filed 09/03/19      Page 60 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 60 of 81




  Placement Moves(4.10,4.12)

  No child is to be moved from his/her existing placement to another placement unless MDCPS
  specifically documents in the child's case record justifications for that move and an MDCPS
  supervisor approves the move. The parties agreed that by July 1, 2018, MDCPS would meet an
  interim performance standard of 70 percent for this commitment.

  MDCPS provided data indicating that there were 2,990 placement moves in the third quarter of
  2018, which began on July 1, 2018, and 2,793 placement moves in the fourth quarter of 2018.
  The monitoring team reviewed a randomly selected sample of case notes and approvals for 67
  placement moves that occurred in the second half of 2018. Every case the team reviewed listed
  a reason for the placement change and was approved by a supervisor. However, supervisory
  approval frequently occurred after the child's placement move. In 27 cases (40.3 percent),
  approval by the supervisor occurred more than a week after the placement change. Additionally,
  placement change reasons were often coded as "other" when another reason, such as
  "placement with a relative" or "trial home placement," would have been more applicable.

  Multiple Emergency Placements(4.11)

  MDCPS agreed to ensure that no child is placed in more than one emergency or temporary facility
  within one episode of foster care. Exceptions can be made if an immediate placement move is
  necessary to protect the safety of the child or of others with documented approval from the
  Regional Director. Data provided by MDCPS indicate that 52 children experienced 66 successive
  stays in shelter care during 2018. Successive stays were counted as meeting the requirements if
  there was an exception approved by the Regional Director indicating that the




                                                59
Case 3:04-cv-00251-HSO-ASH                    Document 857-26              Filed 09/03/19           Page 61 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 61 of 81




  placement was necessary to protect the safety of the child or of others. MDCPS' performance
  during each quarter of 2018 is charted below.

                         Table 10. Successive Emergency Shelter Placements, 2018

             'Quarter         Number of            Nurnber of Approved          Percent of Approved
                           Successive Stays         Successive Stays'             Successive Stays
                 1                8                         1                          12.5%
                 2                13                        0                           0.0%
                 3                26                        25                         96.0%
                 4                19                       19                         100.0%
             Full Year           66                        45                          68.2%

  The monitoring team reviewed all the 45 cases with exceptions in MACWIS. Of the 45, only 13
  (28.9 percent) contained information supporting the determination that the placement was
  needed to ensure the safety of the child or of others.


  5. Visitation
  Worker Contact and Monitoring
  Caseworker Contact with Foster Children (5.1.a.)

  The 2nd MSA requires that by July 1, 2018, no less than 75 percent of foster children shall have
  an MDCPS caseworker meet with them at least two times per month. At least one visit per month
  shall occur in the child's placement.

  M DCPS provided data on this commitment for 2018 but did not exclude children on trial home
  visits (THVs). Children on THVs should be excluded from this commitment because visit
  requirements for children on THVs, which is measured in 5.1.b, are different from visit
  requirements for children in out-of-home placements. While all children are required to be
  visited by a caseworker twice a month, both visits must occur in the home for children on THVs
  and only one visit must occur in the child's placement for children in out-of-home placements.
  The monitoring team is able to report for this commitment only the number and percentage of
  children with at least two visits in each month of 2018. MDCPS was not able to distinguish the
  children on THVs, making it impossible for the monitoring team to analyze whether the required
  number of visits occurred in the child's placement.




  23 MDCPS reported there were problems with capturing data on exceptions in the first half of 2018, which resulted
  in low performance in Q1 and Q2.

                                                         60
Case 3:04-cv-00251-HSO-ASH                      Document 857-26                      Filed 09/03/19                 Page 62 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 62 of 81




  Regarding children receiving two caseworker visits each month, the Department's performance
  d uring every month of 2018 is reflected in the following chart.

                                   Figure 6. Worker-Child Visitation, 2018

           100%


              95%


              90%                                    92%
                                              91%
                             90%   90%                                        90%           90%
                    89%
              85%                                                                     88%           88% ._

                                                                                                                 85%
              80%


              75%
                                    `(%             tts,sk           Net                      •          t          c
                    5
                    2.
                     ‘                                       oe                 "
                                                                               o4                              •o
                          4.$).                                             tiA7            0
                                                                                      cc'• 6.     e,('        tc`
                                                                                                              ,
                                                                                   Ace'   0
                      <e'
                                                                                e2e''
                                                                                              Source: MDCPS Data
                                                    of children with at least two visits



  The monitoring team conducted a qualitative review of visitation case notes for 70 randomly
  selected children who were in the custody of MDCPS during the fourth quarter of the year
  (October to December 2018) and subject to this commitment. The visitation narratives were
  reviewed to determine if the 2nd MSA requirements to assess safety, well-being, services,
  permanency and other service goals were documented. There were 339 contacts required, of
  which 294 were held. The chart below reflects any documented assessments during those
  contacts.

                      Table 11. Worker-Child Visitation Narrative Review,2018

                                     # Of                        #     j    ti                                 # Other
                                   contacts    # Safety      Well-being Services I Permanency                service goals
           Visitation Type           held      Assessed       Assessed   Assessed I Assessed                   Assessed
           Worker-Child             294             228           282           57     j    91                    17

  Overall, the monitoring team found that many of the files lacked detail about visitation, and at
  times, any information at all. For example, in one case, the visitation narratives each month
  contained the exact same information with the date changed. In another case there were no
  narratives from July to December 2018, although a supervisory note indicated the caseworker
  had seen the child each month, but it had not been documented.




                                                               61
Case 3:04-cv-00251-HSO-ASH              Document 857-26          Filed 09/03/19        Page 63 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 63 of 81




   Caseworker Contact with Children on Trial Home Visits(5.1.b.)

   MDCPS committed that by July 1, 2018, at least 75 percent of foster children on a 90-day THV
   would be visited by an MDCPS caseworker in the home at least two times per month.

   The monitoring team cannot validate the data MDCPS provided for this commitment. For this
   commitment and another commitment that involves THVs (6.3.a.5 — Children with a goal of
   reunification who reunified should have a 90-day THV), the monitoring team identified several
   problems with how MDCPS documented THVs and the methods it used to identify them.

   Caseworker Contact with Parents (5.1.c.)

   MDCPS committed, by July 1, 2018, to meet at least monthly with the parents of no less than 75
   percent of foster children with a goal of reunification to discuss progress on the family service
   plan and the child's well-being. Exceptions include if the child's parent(s) reside out-of-state or
   are incarcerated.

   The monitoring team cannot validate the data MDCPS provided for this commitment. The
   monitoring team identified several problems and raised questions regarding the files and
   calculations provided by MDCPS. For example, the file from which the final performance was
   generated appeared to be missing contact information for many parents, for multiple months.
   The monitoring team requested feedback from MDCPS regarding the method it used to create
   this file but MDCPS, as of April 2019, was still trying to understand the business rules and code
  (written by a former MDCPS employee) used to produce the file and calculate performance for
  this commitment. MDCPS also indicated that its code used to calculate performance was often
   not selecting the correct permanency plan needed to indicate whether the goal was reunification.

  The monitoring team conducted a qualitative review of visitation case notes for a randomly
  selected sample of 70 children who were in the custody of MDCPS during the fourth quarter of
  the year (October to December 2018) and subject to this commitment. The monitoring team
  evaluated if the 2nd MSA requirements for MDCPS to assess progress on the family service plan
  and the child's well-being were documented. There were 170 worker-parent contacts required,
  of which 103 were documented. The chart below reflects any documented assessments during
  those contacts.




                                                 62
Case 3:04-cv-00251-HSO-ASH                   Document 857-26                    Filed 09/03/19            Page 64 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 64 of 81




                      Table 12. Worker-Parent Visitation Narrative Review, 2018

                                                # Of contacts   # Well-being    # Family Service
                         Visitation Type            held          Assessed       Plan Assessed
                         Worker-Parent              103                47             29


  As with the worker-child contacts discussed above, the monitoring team found that many of the
  worker-parent visitation narratives lacked detail.

  Caseworker Contact with Foster Parents (5.1.d.)

  M DCPS committed that, by July 1, 2018, at least 75 percent of foster parents with at least one
  foster child in the home must be visited by MDCPS monthly in the home.

  M DCPS provided data for this commitmentfor 2018, which was analyzed by the monitoring team.
  The monitoring team calculated slightly lower performance than MDCPS reported. 24 The
  Department's performance during each month of 2018, as calculated by both MDCPS and the
  monitoring team, is charted below:

                              Figure 7. Worker-Foster Parent Visitation, 2018

               80%
                                                          75%
                                                  73%           73%
                                   72%                                  72%
                                          71%                                         70%
                      70%    70%
                                                                                68%                 68%
               70%                                                                           67%
                                                          70%
                                                  68%           68%
                                   67%                                  67%
                                          66%
                      65%    65%
               60%                                                              63%
                                                                                             61%    61%



               50%
                                                44
                                                 ,4,             x.‘        k   6             ¢,
                                                                V      Or       e   oa•,e"
                                                                                       r    e      oe
                                                                                        +o 4    Qa•


                                     -% of foster parents with one in-home visit(MMT)           Source: MDCPS Data

                                 --lb—% of foster parents with one in-home visit(MDCPS)




  24 The monitoring team identified on average 143 homes per month (with a range of 126 to 177) that had a foster
  child placed in the home for the entire month for which MDCPS did not provide visitation data. The monitoring
  team included these foster parents in the performance calculations as non-compliant.

                                                           63
Case 3:04-cv-00251-HSO-ASH              Document 857-26           Filed 09/03/19       Page 65 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 65 of 81




   Developing and Maintaining Connections
   Child-Parent Contacts within 72 Hours ofPlacement(5.2.a.)

   The 2nd MSA requires MDCPS to arrange contact for the foster child with his/her parents and with
   any siblings not in the same placement within 72 hours of foster care placement unless there are
   documented reasons why contact should not occur. If MDCPS cannot arrange a visit within 72
   hours, a telephone call to parents,siblings, or extended family members must be provided to the
   child.

  The monitoring team reviewed visitation case notes for 70 children, as detailed in Section 5.1.a.
  Thirty-two of these children were removed from their parent(s) in the last quarter of 2018 and
  are subject to this commitment.The team reviewed the case narratives and found four children
  had a visit with their parent and six children had a visit with their sibling(s) within 72 hours of
  their removal. In another child's case, a no contact order with the parent was documented.There
  were no case narratives found documenting a telephone call between the child and parent(s) or
  sibling(s).

  Cancellation of Visits (5.2.c.)

  The 2' MSA requires MDCPS and its contracting agencies to implement a policy that prohibits
  cancellation of visits as a form of discipline against children. MDCPS reported that a policy update
  was issued in November 2017 prohibiting the cancellation of visits as a form of discipline for
  children in custody. MDCPS provided the monitor with a copy of the policy bulletin to all MDCPS
  staff and the email sharing the policy update with contracting agencies.


  6. Child and Youth Permanency
  Comprehensive Family Service Plans
  Comprehensive Family Service Plans (6.1.a.)

  The 2nd MSA requires that a comprehensive family service plan (FSP) that addresses the
  strengths, needs and services required for both the child and their parent(s) shall be completed
  within 45 days of a child's entry into foster care. In developing the FSP, the MDCPS caseworker
  must consult with the child, the child's parents and the foster care provider. MDCPS committed
  that by July 1, 2018 at least 75 percent of FSPs will be submitted by the caseworker consistent
  with 2nd MSA requirements, within 30 calendar days of a child's entry into custody and approved
  by the supervisor within 15 calendar days. The FSP shall be considered complete upon
  documented supervisory review and approval.



                                                 64
Case 3:04-cv-00251-HSO-ASH               Document 857-26        Filed 09/03/19      Page 66 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 66 of 81




  Data provided by MDCPS indicate there were 1,072 children who entered custody between July
  1,2018 and December 31, 2018 whose 45th day in custody fell during the year. Of the 1,072 FSPs
  due during the period, 799 (74.5 percent) were completed within 30 days of a child's entry into
  foster care and 1,022(95.3 percent) were approved within 15 days. A total of 929(86.7 percent)
  of the 1,072 FSPs due during the period were submitted and approved within 45 days.

  The monitoring team reviewed a randomly selected sample of 66 initial FSPs completed during
  the period to assess whether the plans were developed in accordance with 2nd MSA
  requirements. The monitoring team found that only 16(24.2 percent) of the FSPs in the sample
  indicated the plan was developed in consultation with the child's parents or the foster care
  provider. None of the plans reflected consultation with an age-appropriate child during
  development of the initial FSP. As such, strengths, needs and services for parents and children
  could not be evaluated.

  Parents'Inclusion in Service Planning (6.1.b.)

  The rd MSA provides that in instances in which it is impossible to meet with one or both parents,
  the service planning process will proceed as described above, notwithstanding the parent's
  absence.

  The monitoring team reviewed a randomly selected sample of 66 initial FSPs completed during
  the period to assess whether the plans were developed in accordance with the 2nd MSA
  requirements. The monitoring team determined that only three (4.5 percent) of the FSPs in the
  sample indicated a child's parent could not be found, but service planning proceeded in the
  parent's absence as required.

  Diligent Search for Parents (6.1.c.)

  MDCPS committed that in those cases in which the whereabouts of one or both parents are
  unknown, MDCPS shall, within 30 days,institute a diligent search for the parent(s)and document
  the search in the child's case record. MDCPS committed to an interim performance standard of
  75 percent by July 1, 2018.

  MDCPS was unable to produce data related to diligent searches for parents for the first three
  quarters of 2018. The Department began tracking preliminary diligent search data in October
  2018, as a pilot.

  Permanency Plans(6.1.d.)

   The 2nd MSA requires that within 45 days of a child's initial placement into foster care, MDCPS
   shall complete a permanency plan that specifies the child's permanency goal, a timeframe for
   achieving permanency and activities that support permanency. MDCPS committed that by July 1,

                                                   65
Case 3:04-cv-00251-HSO-ASH             Document 857-26          Filed 09/03/19       Page 67 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 67 of 81




   2018 for at least 75 percent of children who enter custody, permanency plans will be submitted
   within 30 calendar days of a child's entry into custody by the caseworker consistent with 2nd MSA
   requirements and approved by the supervisor within 15 calendar days. The permanency plan ,
   shall be considered complete upon documented supervisory review and approval.

   The monitor validated there were 1,072 children who entered custody between July 1,2018 and
   December 31, 2018 whose 45th day in custody fell during the period. Of the 1,072 permanency
   plans due during the period, 773(72.1 percent) were completed within 30 days of a child's entry
   into foster care and 1,056 (98.5 percent) were approved within 15 days. A total of 928 (86.6
   percent) of the 1,072 permanency plans due during the period were submitted and approved
   within 45 days.

  The monitoring team reviewed a randomly selected sample of 66 initial FSPs completed during
  the period to assess whether the FSPs were developed in accordance with the 2nd MSA
  requirements, inclusive of a permanency plan. The monitoring team found that 42(63.6 percent)
  of the FSPs in the sample contained a permanency plan that stated the child's permanency goal,
  as required. Of the 42 FSPs containing a permanency plan with a stated goal, only six(9.1 percent)
  plans included a timeframe for achieving permanency. Ofthe 66 FSPs reviewed,31(47.0 percent)
  indicated activities that support permanency.

  Concurrent Permanency Planning
  Concurrent Permanency Planning (6.2.a.)

  MDCPS agreed to begin, within the first six months of a child's entry into care, to engage in
  concurrent permanency planning. MDCPS committed that at least 95 percent of children in
  custody with the goal of reunification shall have case record documentation reflecting active
  concurrent permanency planning consistent with 2nd MSA requirements.

  MDCPS provided data and summary files for this commitment, but MDCPS' analysis of the data
  in its summary file was inaccurate. The monitor independently analyzed the data MDCPS
  provided and determined there were 2,082 children subject to this commitment during the
  period. Ofthese 2,082 children with a permanency plan of reunification, all had a concurrent plan
  assigned at six months.

  The monitoring team reviewed FSPs completed during the period for a randomly selected sample
  of 66 children with a goal of reunification to assess whether the plans included any
  documentation of a concurrent permanency goal or active concurrent permanency planning. The
  monitoring team found that all 66 (100.0 percent) of the FSPs in the sample included
  documentation of a concurrent permanency planning goal, of which only eight (12.1 percent)
  contained evidence of active concurrent permanency planning.

                                                66
Case 3:04-cv-00251-HSO-ASH              Document 857-26           Filed 09/03/19       Page 68 of 81
      Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 68 of 81




  Permanency Case Goals
  Reunification (6.3.a.1.)

  The 2nd MSA requires when a child's permanency goal is reunification that MDCPS identify in the
  FSP and make available, directly or through referral, those services MDCPS deems necessary to
  address the behaviors or conditions resulting in the child's placement in foster care and to help
  the parents develop strategies to facilitate permanency for the child. Caseworkers must monitor
  the provision of services through visits and updating of service plans. MDCPS committed to an
  interim performance standard of 75 percent by July 1, 2018.

  The monitoring team reviewed FSPs completed during the period for a randomly selected sample
   of 66 children with a permanency goal of reunification to assess whether the FSPs were
   developed in accordance with the 2nd MSA requirements, inclusive of the identification and
   provision of necessary services. The monitoring team found that 58(87.9 percent) of the FSPs in
   the sample identified services MDCPS deemed necessary to address the behaviors or conditions
   resulting in the child's placement into foster care. Of the FSPs containing identified services, 47
  (71.2 percent)of the FSPs included documentation that MDCPS made some or all those identified
  services available directly or through referral.

  Caseworker Contact with Parents (6.3.a.2.)

  MDCPS committed that for a child with a permanency goal of reunification, the child's MDCPS
  caseworker will meet with the child's parent(s) with whom the child is to be reunified at least
  monthly to assess service delivery and achievement of service goals,to keep the family informed
  and involved in decisions about the child, and to remain current about the family's circumstances.

  The monitoring team cannot validate the data MDCPS provided for this commitment. The
  monitoring team identified several problems with the data provided by MDCPS, which are
  described under Section 5.1.c.

  Reunification Supportsfor Parents(6.3.a.3.)

  MDCPS committed in the 2nd MSA to document in the case record of children with a permanency
  goal of reunification, opportunities provided to their parents in support of reunification.

  The monitoring team reviewed FSPs completed during the period for a randomly selected sample
  of 66 children with a permanency goal of reunification to determine whether the FSPs contained
  documentation of opportunities provided to parents in support of reunification. The monitoring
  team found that 58(87.9 percent) of the FSPs in the sample identified services MDCPS deemed
  necessary to address the behaviors or conditions resulting in the child's placement into foster
  care. Of the FSPs containing identified services, 47 (71.2 percent) of the FSPs included

                                                  67
Case 3:04-cv-00251-HSO-ASH              Document 857-26          Filed 09/03/19       Page 69 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11119 Page 69 of 81




   documentation that MDCPS made some or all those identified services available directly or
   through referral.

   After-Care Plans (6.3.a.4.)

   The 2"d MSA requires that when a recommendation is made to reunify a child with his or her
   family, MDCPS must develop an after-care plan that identifies services necessary to ensure that
   the conditions leading to the child's placement have been addressed, and that the child's safety
   and stability can be assured. It also requires MDCPS to take reasonable steps to provide or
   facilitate access to services necessary to support the child during the trial home visits.

   The monitoring team reviewed the case records of 66 children where parent(s) had full custody
   restored during the last quarter of 2018 to determine if the children had after-care plans
   consistent with the 2"d MSA.Sixty-four of the children(97.0 percent) had an after-care plan, while
   two children (3.0 percent) did not have an appropriate after-care plan as required by the
   commitment.

   Trial-Home Visits(6.3.a.5.)

  The 2"d MSA provides that for each child who has a permanency goal of reunification and who is
  in fact returned home for the purpose of reunification, MDCPS will provide that child with a 90-
  day THV if the child has been in custody for at least 90 days, subject to the approval of the Youth
  Court.

  MDCPS committed that by July 1, 2018, at least 75 percent of foster children who are reunified
  and who were in custody longer than 90 days would receive a 90-day THV period or have case
  record documentation reflecting the Youth Court's objection to such a THV. During the THV,
  MDCPS must provide or facilitate access to the services in the child's after-care plan, consistent
  with the 2nd MSA requirements.

  The monitoring team cannot validate the data provided by MDCPS for this commitment. MDCPS'
  count of children with a THV was not limited to children who had a goal of reunification and was
  not limited to THVs that lasted 90 days or more. Likewise, MDCPS'count of children with a THV
  with Youth Court approval was not limited to children with a goal of reunification and a THV that
  lasted 90 days or longer.

  Final Discharge Meeting (6.3.a.6.)

  The 2"d MSA requires that before the end of any THV period, MDCPS will meet with the child's
  parents and the child to determine the appropriateness of final discharge. If final discharge is




                                                 68
Case 3:04-cv-00251-HSO-ASH               Document 857-26          Filed 09/03/19       Page 70 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 70 of 81




  determined to be appropriate, MDCPS shall make the appropriate application to the Youth Court
  to be relieved of custody.

  The monitoring team reviewed the same sample of case records of 66 children where parents
  had full custody restored during the last quarter of 2018(see 6.3.a.4, above). Fifty-five children's
  case records (83.3 percent) had documentation of a final parental discharge meeting, while 11
  children's case records (16.7 percent) lacked documentation that MDCPS had a final discharge
  meeting with the parents. Fifty-eight children's records (87.9 percent) had documentation of a
  discharge meeting with age appropriate children, or documentation that children who were too
  young for discussion were seen prior to discharge. Eight children's case records (12.1 percent)
  lacked documentation that a discharge meeting was held with age appropriate children. Fifty-
  eight children's records (87.9 percent) had documentation that the appropriate application was
   made to the Youth Court for relief of custody. In one case MDCPS recommended continued
  custody because the THV was four days short of 90 days, but the judge denied that
   recommendation and discharged the children from custody. There were eight children's files
  (12.1 percent) where documentation was lacking that the appropriate Youth Court relief of
  custody application was made by MDCPS.

  Adoption (6.3.b.1.)

  The rd MSA requires that by July 1, 2018 at least 70 percent of children in custody with the
  primary permanency goal of adoption shall have an assigned adoption specialist and an adoption
  plan that identifies the child specific activities that MDCPS will undertake to achieve adoption.

   Relative to the adoption specialist, data provided by MDCPS indicate that of the 2,724 children
   with a goal of adoption during 2018, 2,672(98.1 percent) had an adoption worker assigned.

  MDCPS did not provide information on the number of children with adoption plans. However,
  the monitoring team reviewed a randomly selected sample of 66 children who had a goal of
  adoption. All but one (98.5 percent) of the children's case records documented evidence of
  adoption planning with identified activities undertaken to achieve adoption. In 47(72.3 percent)
  of the cases, activities were documented within 60 days of the goal of adoption being assigned.
  In the remaining 18 cases, activities were documented more than 60 days after the adoption goal
   was assigned.

   Termination of Parental Rights(6.3.b.2., 6.3.b.3.)

   MDCPS must make a termination of parental rights (TPR) referral before a child has spent more
   than 17 of the last 22 months in foster care unless an available exception pursuant to the federal
   Adoption and Safe Families Act ("ASFA") has been documented by MDCPS in the child's case
   record. Subsequent to the initial ASFA exception, MDCPS may continue the exception for only

                                                   69
Case 3:04-cv-00251-HSO-ASH                  Document 857-26              Filed 09/03/19          Page 71 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 71 of 81




   one additional six-month period unless continued invocation of the exception is reviewed,
   approved and documented semi-annually by the Regional Director assigned to the county of
   responsibility for the child. MDCPS committed to meet an interim standard of 70 percent for this
   commitment by July 1, 2018(6.3.b.2).

   The monitoring team was unable to validate the data provided by MDCPS for this commitment.
   MDCPS identified children as being in care for 17 of the past 22 months but whose custody history
   does not support this. Conversely, MDCPS'file omits hundreds of children who, according to the
   custody cohort file, were in care for at least 17 of the last 22 months.

   The monitoring team reviewed case records for a randomly selected sample of 70 children
   subject to this commitment and found 43 (61.4 percent) cases met the terms of the 2nd MSA.
   With respect to these children, MDCPS either made the TPR referral (22), documented an ASFA
   exception in the electronic record (14)or placed the children in a THV by the last day of a child's
   seventeenth month in care (7).

   MDCPS is required to provide the monitor a report of all TPR referrals made during the
   monitoring period, the date those TPR referrals were made and the date the petition was filed
   with the court (6.3.b.3). MDCPS provided this data for 2018.

   Post-Adoption Services (6.3.c.)

   MDCPS committed to establish and maintain a system of post-adoptive services to stabilize and
   support adoptive placements. MDCPS agreed that adoptive families eligible for adoption
   subsidies must have access to these services, which may include counseling, mental health
   treatment and crisis intervention,family preservation and stabilization services and peer support.

  MDCPS reported that in SFY2018, the Department expended $1,552,672 for adoption subsidy
  payments on behalf of 3,327 eligible children. Consistent with its 2nd MSA commitment, MDCPS
  established a statewide post-adoptive service contract with a child and family service agency to
  ensure that eligible families have access to a range of post-adoptive services throughout
  Mississippi. The contract became effective in October 2017 and the provision of post-adoptive
  services continued throughout the entire monitoring period.25 The monitoring team reviewed
  the contract and found the scope of services includes the provision of supportive counseling,
  mental health treatment and referrals, crisis intervention, family preservation and stabilization
  services, peer support and respite services consistent with 2nd MSA requirements. During
  calendar year 2018, MDCPS reported that 1,021 adoptive families throughout Mississippi
  accessed the aforementioned range of post-adoptive services.


    MDCPS reported that the contract value during the monitoring period for statewide provision of post-adoption
  services was $751,000.

                                                        70
Case 3:04-cv-00251-HSO-ASH               Document 857-26           Filed 09/03/19      Page 72 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 72 of 81




  Durable Legal Custody and Guardianship (6.3.d.)

  The parties agreed that the permanency goals of durable legal custody and guardianship may be
  assigned when there are documented efforts in the child's case record to move the child to
  adoption and documentation of a reasonable basis why it is in the child's best interests not to be
  considered for adoption. Further, when the permanency goals of durable legal custody and
  guardianship are assigned to a child under the age of 14 years old or living with a non-relative,
  MDCPS agreed to provide to the monitoring team information from the child's case record
  documenting efforts to move the child to adoption and documentation of a reasonable basis why
  it is in the child's best interests not to be considered for adoption.

  MDCPS provided to the monitoring team a data file identifying 63 children who were assigned
  the permanency goal of durable legal custody or guardianship at the conclusion of the monitoring
  period. However, the age of the children was not included in the file nor was information
  provided regarding whether the child was living with a non-relative. Further, MDCPS did not
  provide case record information to the monitoring team for children under the age of 14 who
  were assigned the permanency goals of durable legal custody and guardianship or living with a
  non-relative for the period. Therefore, the monitoring team cannot verify if MDCPS documented
  efforts to move a child to adoption and of a reasonable basis why it was in a child's best interests
  not to be considered for adoption.

  Another Planned Permanent Living Arrangement(APPLA)(6.3.e.)

  If MDCPS concludes, after considering reunification, adoption, durable legal custody, and
  permanent placement with a relative, that these permanency plans are inappropriate or
  unavailable for a child, MDCPS may assign a permanency goal of APPLA for the child. In such
  circumstances, MDCPS agreed that, (1) the child must be at least 16 years old and (2) MDCPS
  m ust document a compelling reason why this permanency goal is in the best interest of the child.

  MDCPS provided a list of all children with a permanency goal of APPLA in 2018, including the age
  of each child. MDCPS did not provide information on whether there was a documented
  compelling reason why this permanency goal was in the best interest of each child. Therefore,
  the monitoring team cannot validate MDCPS' performance for this commitment.

  Permanency Reviews

  Permanency Plan Reviews (6.4.a.)

  The 2nd MSA requires that a child's permanency plan be reviewed in a court or administrative
  case review, which may be a foster care review, at least every six months. MDCPS agreed to take
  all reasonable steps, including written notice, to ensure the participation of the child, parents,


                                                   71
Case 3:04-cv-00251-HSO-ASH             Document 857-26           Filed 09/03/19       Page 73 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 73 of 81




   caregivers and relevant professionals in court or administrative reviews. MDCPS committed that
   by July 1, 2018, at least 80 percent of foster children who have been in custody for at least six
   months shall have a timely court or administrative case review consistent with 2nd MSA
   requirements.

   During validation of the data MDCPS provided for this commitment, the monitoring team
  discovered that MDCPS did not use the date the permanency plan review was completed to
   determine when the next review was due and whether the review was administered timely.
   Instead, MDCPS used the date the review was scheduled in order to determine timeliness of the
  reviews. The monitoring team requested and MDCPS provided a new data file that included the
  review completion date for validation. MDCPS' original analysis indicated that 7,983 children
  were due for a permanency plan review during the period,of which 7,690 children (96.3 percent)
  received a timely review. The monitoring team's analysis concluded that 7,756 children were due
  for a permanency plan review during the period, of which 4,546 children (58.6 percent) received
  a timely review.

  The monitoring team reviewed a randomly selected sample of 66 Youth Court Hearing and
  Review Summary reports completed by MDCPS during the period for children in custody for at
  least six months to assess the timeliness and participants of the permanency reviews. The
   monitoring team found evidence in the sample of Youth Court Hearing and Review Summary
  reports that the foster care reviewer (quality assurance coordinator),social worker(caseworker),
  social work supervisor(casework supervisor) and the foster child were listed as being invited to
  the permanency review in each of the reports. Parents were listed as invited in 45(68.2 percent)
  of the reports. Guardians ad litem were invited in 34 (51.5 percent) of the reports and other
  individuals with an unspecified relationship to the child were listed as being invited in 37(56.1
  percent)of the reports. Caregivers and relatives were rarely listed as being invited in the sample.

  The summary reports also indicated that quality assurance coordinators participated in each
  review and a caseworker attended 69.6 percent of the permanency reviews. Occasionally,
  caregivers (28.7 percent), caseworker supervisors (27.2 percent), the foster child (18.1 percent)
  and parents(18.1 percent) attended the permanency reviews. Relatives, guardians ad litem and
  other professionals rarely attended the reviews (less than 10 percent).

  Court Reviews(6.4.b.)

  The 2nd MSA also requires MDCPS to take all reasonable steps to ensure that a court review is
  held for each child in foster care custody within 12 months of the child's initial placement, and
  annually thereafter. MDCPS committed that by July 1, 2018, it would make reasonable efforts to
  have a timely annual court review scheduled consistent with 2nd MSA requirements for at least
  80 percent of foster children who have been in custody for at least 12 months.

                                                 72
Case 3:04-cv-00251-HSO-ASH                       Document 857-26                   Filed 09/03/19       Page 74 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 74 of 81




  M DCPS did not provide information relative to the reasonable steps taken to ensure that timely
  court reviews occurred for each child in foster care custody. In the alternative, MDCPS reported
  that timely annual court reviews occurred for between 5 and 11 percent of foster children who
  had been in custody for at least 12 months during the period.

  Review of Adoption and Safe Families Act(ASFA)Exceptions (6.4.c.)

  M DCPS committed to review documented exceptions pursuant to ASFA for children who have
  spent more than 17 of the previous 22 months in foster care during the child's foster care review.
  M DCPS did not provide an analysis of its review conducted consistent with this commitment for
  2018.

  Permanency Performance Indicators
  Permanency Outcomes(6.5.a.)

  The 2nd MSA requires that by July 1, 2018 the monitor establish performance standards for three
  permanency26 indicators, informed by MDCPS'certified baseline performance established during
  the Stipulated Third Remedial Order (STRO). The standards must represent a substantial
  i mprovement above the certified baseline performance. The parties agreed that the standards
  take effect during Federal Fiscal Year (FFY) 2019 beginning on October 1, 2018.

  The monitor analyzed MDCPS' permanency data, took into consideration the certified baseline
  performance established during the STRO and considered federal Child and Family Service
  Reviews (CFSR) Round 3 Permanency Standards in establishing the performance standards. As a
  result, the monitor established interim standards for MDCPS to achieve during FFY2019 and
  FFY2020. The final performance standard takes effect during FFY2021.

                          Table 13. Permanency Outcome Performance Standards

                                                                                                                FFY2021
                                                                 STRO 'CFSR Round 3 FFY2019         FFY2020
   2nd MSA                                                                                                    Performance
                                Indicator                       Certified Performance Performance Performance
   Section                                                                                                      Standard
                                                                Baseline    Targets    Standard    Standard
                                                                                                                 (Final)
            Permanency for children entering care in a 12-
   6.5.a.1. month period                                         43.5%     40.4%       43.9%        45.7%        45.7%
            (Baseline: October 1, 2014-September 30,2015)
             Permanency for children in care for 12-23 months
   6.5.a.2. on the first day of a 12-month period                33.3%     41.0%        34.9%       38.3%        41.0%
            (Baseline: October 1, 2015-September 30, 2016)
            Permanency for children in care for 24 months or
   6.5.a.3. more on the first day of a 12-month period           31.1%     30.3%        31.4%       32.7%        32.7%
            (Baseline: October 1, 2015-September 30, 2016)


  26 Permanency is defined as discharges from foster care to reunification with the child's parents or primary
  caregivers, durable legal custody, guardianship or adoption.


                                                                73
Case 3:04-cv-00251-HSO-ASH              Document 857-26          Filed 09/03/19       Page 75 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 75 of 81




   Adoption Outcomes(6.5.c., 6.54.)

   The 2nd MSA requires that by March 15, 2018 the monitor establish adoption performance
   standards informed by the certified baseline performance established during the Stipulated Third
   Remedial Order (STRO). The parties agreed that for all children in the custody of MDCPS who
   were adopted in FFY2017 the monitor would validate the average and median lengths of time to
   adoption finalization for each child from the date on which the child's adoption goal was
   established. The parties agreed that adoption performance standards must represent a
   substantial improvement above the certified baseline performance established and the
   performance standards would take effect October 1, 2018.

  The monitor certified the baseline performance as an average of 14.8 months and a median of
  9.0 months from the date on which a child's adoption goal was established to adoption
  finalization and established the following performance standards, which, if achieved,
  demonstrate substantial improvement above the certified baseline:

      • In FFY2019,the average length of time from the date on which a child's adoption goal was
        established to adoption finalization shall be 13.6 months and the median shall be 9.0
        months.

     • Beginning in FFY2020, the average length of time from the date on which a child's
       adoption goal was established to adoption finalization shall be 11.8 months and the
       median shall be 8.8 months.

  With the agreement of the parties, the permanency and adoption performance standards took
  effect during FFY2019, which began on October 1, 2018 and concludes on September 30, 2019.
  As such, the monitor will report MDCPS' performance relative to the permanency and adoption
  standards in the next annual 2nd MSA report.


  7. Transition to Independent Living
  Notification of Cessation of Benefits(7.1)

  MDCPS is required to provide each youth transitioning to independence with at least six months'
  advance notice of the cessation of any health, financial, or other benefits that will occur at the
  time of transition. MDCPS reported that 139 youth transitioned to independence during 2018.
  Of those young adults, 33 youth (23.7 percent) were given advance notice of the cessation of
  health benefits, 52 youth (37.4 percent) were given advance notice of the cessation of financial
  benefits and 45 youth (32.4 percent) were given advance notice of the cessation of other
  benefits.


                                                 74
Case 3:04-cv-00251-HSO-ASH              Document 857-26          Filed 09/03/19       Page 76 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 76 of 81




  Independent Living Service Plans(7.2)

  MDCPS is required to provide to each foster youth age 14 years or older, regardless of his/her
  permanency plan, an opportunity to participate in the creation of an appropriate Independent
  Living service plan for a successful transition to adulthood. The monitoring team requested and
  received information indicating that during the first half of 2018, January 1st to June 30th, there
  were 1,780 children age 14 and older in custody. Of those youth, 1,290 (72.5 percent) had a
  documented Independent Living service plan in MACWIS and 547 youth (30.7 percent)
  participated in creating the plan. During the second half of 2018,July 1st to December 31st, there
  were 1,012 children age 14 and older in custody. Of those youth, 828 (81.8 percent) had a
  documented Independent Living service plan in MACWIS and 141 youth (13.9 percent)
  participated in creating the plan. However, MDCPS did not submit information indicating
  whether each foster youth age 14 years or older was provided an opportunity to participate in
  the creation of an Independent Living service plan.

  Independent Living Services(7.3)

  The rd MSA provides that each foster youth age 14 years and older will have access to the range
  of supportive services necessary to support their preparation for and successful transition to
  adulthood. This includes Independent Living services eligible for federal reimbursement under
  the Chaffee program, which in part promotes employment or removes barriers to employment.
  MDCPS must maintain sufficient resources to deliver these services.

  The monitoring team requested and MDCPS submitted data on services provided during the
  period to youth age 14 and older, including employment, community resources, transportation,
  communication skills, social development, youth law, money management, self-care, decision
  making, housing, relationships, daily living skills as well as the number of youth with no skill
  modules documented. However, MDCPS did not submit information indicating whether each
  foster youth age 14 years or older had access to these services. MDCPS' performance during
  each half of 2018 is charted below.




                                                  75
Case 3:04-cv-00251-HSO-ASH                                    Document 857-26                              Filed 09/03/19                       Page 77 of 81
       Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 77 of 81




                                Table 14. Youth Receiving Independent Living Skills, 2018

 ',:a,:•:.,• ,        Skill'
                 i..4:5,q ,.....F.          -,
                                     '-- " •i•-,!--:- ,. Jarivaiy.1,
                                                                   4r,, ,  2018:1,..1iiie:30,2018:
                                                                           ,.....t.i4y-                      0.- iitlii$,420184;0,40ihbOieTi
                                                                                                        , -1-,-!?.-, -0A ›t ..,, i. :, .3.4,7,:sx
                                                                                             ;-rey..- ..*                                                     -401.8,..i`
                                                                                                                                                                 -,?4,..
                  .              -                      ,Youth paitiCipand.1:ecetwlig 4kill :-YoUth: a cfpggcsje_cfrtn skill
  Oli'-irC'N'Thl: ':4*4 ':i .7'1       F) t '
                                            i- 'Q'                   f
                                                                     = t,
                                                                        -    1-:   -
                                                                                   --ti-
                                                                                    -,  --n?;* 4
                                                        '''5 111F.:1'.ijileitifes Mr riill Y'''
                                                                                                       ;        r
                                                              ..                                               - ,             o blglt.V:4rOAP.'
 ,,.      ,k,i.5.1 1 1     5                                              • - ,z14-   4.•.t.,C1:piatit,i
                                                                                              ,'IL -', .,i '        ,, ' 0 ii
                                                                                                                            -.i-,.!li
                                       g,:;14-113i-.':     (1 • • odaiei.                                ,::i...9„.‘
                                                                                                                   ,,               Aiz- 4
                                                                                                                                         ,. .;.:
                                                                                                                                             [A..,m;P;.
                                                                                                                                               :, v.. , ,._. 60iv. ,1-'
                                                                                                                                                     r!i-,go...         1 --
   Employment                                                  286                        16.0%                           240                          23.7%
   Community Resources                                         232                        13.0%                           212                          20.9%
   Transportation                                              216                        12.1%                           194                        • 19.1%
   Communication Skills                                        286                        16.0%                           248                          24.5%
   Social Development                                          258                        14.4%                           217                          21.4%
   Youth Law                                                   179                        10.0%                           144                          14.2%
   Money Management                                            324                        18.1%                           259                         25.5%
   Self-Care                                                   294                        16.5%                           264                         26.0%
   Decision Making                                             346                        19.4%                           319                         31.5%
   Housing                                                     216                        12.1%                           198                         19.5%
   Relationships                                               260                        14.5%                           263                         25.9%
   Daily Living Skills                                         252                        14.1%                           256                         25.2%
   No modules documented                                      729                         40.9%                          477                          47.1%

   Medical Coverage (7.4)

  The rd MSA requires MDCPS to implement a policy and a process by which youth emancipating
  from the foster care system at age 18 or beyond are enrolled for Medicaid coverage so that their
  coverage continues without interruption at the time of emancipation. MDCPS reported that all
  youth who emancipated from care during 2018 had Medicaid numbers and were eligible to
  receive extended Medicaid. Youth are responsible for completing the Extended Medicaid
  documents to recertify their coverage. MDCPS reported that 83 youth age 18 and over
  emancipated from foster care in 201827 but could not report how many youth were enrolled for
  Medicaid coverage so that the youth's coverage continued without interruption at the time of
  emancipation.

  Start-Up Stipends(7.5)

  MDCPS must implement a policy and a process by which youth emancipating from the foster care
  system at age 18 or beyond receive a start-up stipend of at least $1,000.00 at the time of
  emancipation, or as soon as practicable thereafter.28 Of the 83 youth identified by MDCPS as
  being age 18 and over who emancipated from foster care in 2018, 50(60.2 percent) received a
  start-up stipend at the time of emancipation or shortly thereafter.



  27 The monitoring team identified in the cohort data 87 youth age 18 and over who emancipated from foster care
  in 2018 as reflected in Table 2.
     MDCPS reported that start-up stipends provided during 2018 were $1,500 each.

                                                                               76
Case 3:04-cv-00251-HSO-ASH              Document 857-26            Filed 09/03/19       Page 78 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11119 Page 78 of 81




  MDCPS also provided the policy on start-up stipends, which explains, in part,that not every youth
  who emancipates from care is entitled to a start-up stipend. The policy provides that a start-up
  stipend is available to youth who leave care after turning age 16 and have participated in
  Independent Living Program activities. The youth must have been in care for a minimum of six
  months. Acceptable purchases include any items associated with the establishment of a home
  such as dishes, cooking utensils, furniture, appliances and other home products. In addition, a
  youth released from custody at age 17 who has a job may use a portion of the stipend to purchase
  or repair a car if the vehicle is needed in the youth's job and the youth already has the basic items
  needed to live independently.

  Housing Resource Specialists(7.6)

  MDCPS is required to implement a policy and a process by which youth emancipating from the
  foster care system at age 18 or beyond have access to a housing resource specialist responsible
  for assisting the youth to obtain an adequate living arrangement.

  MDCPS stated that a housing specialist was available to all youth during 2018. For January
  through May 2018,Independent Living services were provided through a sub-grant with a private
  social service agency.Through those services, all youth reportedly had access to a Transition Care
  Coach who worked with the MDCPS workers to identify any youth who could benefit from
  Aftercare Services, including apartment placements and/or other appropriate living
  arrangements. As of June 1, 2018, MDCPS assumed responsibility for administering Independent
  Living services and all youth had access to both their foster care worker and Transitional
  Navigators who could assist with obtaining adequate living arrangements through referrals to
  and coordination with other agencies.

  MDCPS did not produce information indicating the number of youth emancipating from care
  requiring a housing specialist. However, MDCPS reported that of the 83 youth the agency
  identified who emancipated from care in 2018, 21 (25.3 percent) accessed a housing resource
  specialist.

  State Educational Training and Vocational(ETV)Program (7.7)

  MDCPS must continue to implement policies and processes which ensure that youth
  emancipating from the foster care system at age 18 or beyond receive services and support under
  the State Educational Training and Vocational (ETV)Program for which they are eligible. MDCPS
  did not submit information on the number of youth eligible for ETV services. However, MDCPS
  reported that during FFY2018,98 youth received ETV funds.




                                                   77
Case 3:04-cv-00251-HSO-ASH              Document 857-26            Filed 09/03/19        Page 79 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 79 of 81




   Identification and Essential Documentation (7.8)

   MDCPS committed to assist youth in obtaining or compiling the following documents and such
   efforts shall be documented in the child's case record:

      • Educational records,such as a high school diploma or general equivalency diploma, and
        a list of schools attended, when age-appropriate;

      • A social security or social insurance number;

      • A resume, when work experience can be described;

      • A driver's license, when the ability to drive is a goal; if not a driver's license, then a
        state-issued, photo identification;

      •   An original or certified copy of the youth's birth certificate;

      • Previous placement information;

      • Documentation of immigration, citizenship, or naturalization, when applicable;

      • Documentation of tribal eligibility or membership;

      • Death certificates when parents are deceased;

      • A life book or a compilation of personal history and photographs, as appropriate; and

      • A list of known relatives, with relationships, addresses, telephone numbers, and
        permissions for contacting involved parties.

  The monitoring team cannot validate the data provided by MDCPS for this commitment. Data
  was provided containing demographic information for 404 youth who were 17 years old and had
  a plan of APPLA during the first half of the year. However, most of the information regarding
  these standards for those youth was blank. For the 7.8 measures, MDCPS reported on 76 youth
  who emancipated from care between January 1, 2018 and June 30, 2018. For measures 7.5 and
  7.6, MDCPS reported on only 38 youth who emancipated from care during the first half of 2018.


  8. Child Well-Being
  Physical and Mental Health Care
  Initial Medical Screenings(8.1.a.)

  MDCPS agreed that by July 1, 2018 at least 70 percent of children shall have an initial medical
  screening within seven days of the child's entry into foster care. Data provided by MDCPS indicate
  the Department met the standard for a timely initial medical exam in 2018 for only 59.2 percent

                                                   78
Case 3:04-cv-00251-HSO-ASH                     Document 857-26               Filed 09/03/19           Page 80 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 80 of 81




  of children.29 The monitoring team reviewed case and medical appointment notes in MACWIS
  for 71 children identified by MDCPS as having an initial health screening completed within seven
  days of the child's entry into foster care. All the cases featured notes supporting that an initial
  medical screening was completed timely.

  Comprehensive Medical Exams(8.1.b.)

  MDCPS agreed that by July 1, 2018, at least 70 percent of children shall have an initial EPSDT or
  other comprehensive medical examination within 60 days of the child's entry into foster care.
  MDCPS provided data from MACWIS,which indicate that 69.5 percent of youth received a timely
  first comprehensive medical exam in 2018. The monitoring team reviewed case and medical
  appointment notes in MACWIS for 100 children identified by MDCPS as having a comprehensive
  medical exam completed within 60 days of the child's entry into foster care. In only 51 percent
  of the cases reviewed, the monitoring team found documentation supporting that a full EPSDT
  or other comprehensive medical exam, including a mental health screening, was completed
  timely.

  Periodic and Ongoing Medical Exams(8.1.c.)

  The rd MSA requires that following an initial EPSDT or other comprehensive medical
  examination, children shall receive periodic and on-going medical examinations according to the
  periodicity schedule set forth by the EPSDT program. The Agreement calls for the monitor to set
  a performance standard for MDCPS to meet by July 1, 2019. The monitor established a
  performance standard of 45 percent and will report on MDCPS' performance relative to this
  commitment in the next annual report.

  Follow-up Treatment(8.1.d.)

  MDCPS agreed that by July 1, 2018, at least 60 percent of children shall receive recommended
  follow-up treatment throughout the time they are in foster care. MDCPS did not provide data for
  this commitment for 2018.

  Dental Exams(8.1.e.)

  MDCPS agreed that by July 1,2018,at least 60 percent of children shall have a dental examination
  within 90 days of the child's entry into foster care.3° Data provided by MDCPS indicate that 47.6
  percent of youth received a timely initial dental examination in 2018. The monitoring team

  29 Data provided by MDCPS excluded all entries except the first for each child in the year from data and
 calculations for 8.1.a, 8.1.b and 8.1.e.
 "Exceptions include if the child has had an examination within six months prior to placement or if they are under
 the age of four. Foster children who reach the age of four while in foster care shall receive a dental examination
 within 90 calendar days of his/her fourth birthday.

                                                          79
Case 3:04-cv-00251-HSO-ASH            Document 857-26          Filed 09/03/19       Page 81 of 81
     Case 3:04-cv-00251-TSL-FKB Document 845 Filed 06/11/19 Page 81 of 81




   reviewed case and medical appointment notes in MACWIS for 100 children identified by MDCPS,
   as having a dental exam completed within 90 days of the child's entry into foster care. In 82
   percent of the cases reviewed, there were notes supporting that an initial dental exam was
   completed timely.

   Medical Records (8.1.f.)

   Per the 2nd MSA, MDCPS committed to provide foster parents or facility staff with the completed
   foster child information form or other electronic record containing available medical, dental,
   educational and psychological information about the child within 15 days of placement. The
   parties agreed that by July 1, 2018, MDCPS would meet an interim performance standard of 75
   percent for this commitment. MDCPS did not provide data for this commitment for 2018.

   Medicaid Information (8.1.g.)

  MDCPS agreed that by July 1, 2018,85 percent of children shall have their Medicaid information
  provided to foster parents or facility staff at the time of placement. MDCPS did not provide data
  for this commitment for 2018.

   Educational Services
  The 2nd MSA requires that MDCPS ensure children receive educational services. Specifically,
  MDCPS is required to:

     • Review the educational record of each child who enters custody for the
                                                                                   purpose of
       identifying the child's general and, if applicable, special educational needs and shall
       document the child's educational needs within 30 calendar days of his/her entry into
       foster care (8.2.a.).

     • Take reasonable steps to ensure that school-age foster children are registered for and
        attending accredited schools within seven calendar days of initial placement or any
        placement change, including while placed in shelters or other temporary placements
       (8.2.b.).

     • Make all reasonable efforts to ensure the continuity of a child's educational experience
       by keeping the child in a familiar or current school and neighborhood, when this is in the
       child's best interests and feasible, and by limiting the number of school changes the child
       experiences(8.2.c.).

  MDCPS did not provide data for any of the above referenced educational service commitments
  for 2018.




                                                80
